Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 1 of 95 PageID #: 851




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


In re:                                      Chapter 11
ASHINC Corporation, et al.,1
                   Debtors.


American Private Equity Partners II,        Civil Action No. 22-cv-302-CFC
LP, et al.,
                                            Bankruptcy Case No. 12-11564
                   Petitioners,
            v.                              Adv. Proc. No. 21-51179-MFW
Catherine E. Youngman, Litigation
Trustee for ASHINC Corporation,
                   Respondent.


  OPPOSITION OF CATHERINE E. YOUNGMAN, AS LITIGATION
TRUSTEE AND PLAN ADMINISTRATOR FOR ASHINC CORPORATION,
           TO DEFENDANTS’ MOTIONS TO DISMISS

1
  The Debtors in these cases, along with the federal tax identification number (or
Canadian business number where applicable) for each of the Debtors, are:
ASHINC Corporation (f/k/a Allied Systems Holdings, Inc.) (XX-XXXXXXX); AAINC
Corporation (f/k/a Allied Automotive Group, Inc.) (XX-XXXXXXX); AFBLLC LLC
(f/k/a Allied Freight Broker LLC) (XX-XXXXXXX); ASCCO (Canada) Company
(f/k/a Allied Systems (Canada) Company) (XX-XXXXXXX); ASLTD L.P. (f/k/a
Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); AXALLC LLC (f/k/a Axis Areta, LLC)
(XX-XXXXXXX); AXCCO Canada Company (f/k/a Axis Canada Company)
(875688228); AXGINC Corporation (f/k/a Axis Group, Inc.) (XX-XXXXXXX);
Commercial Carriers, Inc. (XX-XXXXXXX); CTSINC Corporation (f/k/a CT Services,
Inc.) (XX-XXXXXXX); CTLLC LLC (f/k/a Cordin Transport LLC) (XX-XXXXXXX); F.J.
Boutell Driveway LLC (XX-XXXXXXX); GACS Incorporated (XX-XXXXXXX); Logistic
Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc.
(XX-XXXXXXX); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX);
and Terminal Services LLC (XX-XXXXXXX). Debtors’ address for service of process
is 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 2 of 95 PageID #: 852




Jeffrey H. Zaiger (pro hac vice)       Seth A. Niederman (DE Bar No. 4588)
Judd A. Linden (pro hac vice)          FOX ROTHSCHILD LLP
ZAIGER LLC                             Citizens Bank Center
2187 Atlantic Street, 9th Floor        919 N. Market Street, Suite 300
Stamford, CT 06902                     Wilmington, DE 19801
Tel.: (917) 572-7701                   Tel.: (302) 654-7444
jzaiger@zaigerllc.com                  Fax: (302) 656-8920
                                       sniederman@foxrothschild.com
Douglas J. Pepe (pro hac vice)
COHEN AND GRESSER LLP                  Steven F. Molo (pro hac vice)
800 Third Avenue                       Robert K. Kry (pro hac vice)
New York, NY 10022                     Justin M. Ellis (pro hac vice)
Tel.: (212) 957-7605                   Joshua D. Bloom (pro hac vice)
dpepe@cohengresser.com                 Ryan Yeh (pro hac vice)
                                       MOLOLAMKEN LLP
                                       430 Park Avenue
                                       New York, NY 10022
                                       Tel.: (212) 607-8160
                                       rkry@mololamken.com
                                       Jordan A. Rice (pro hac vice)
                                       MOLOLAMKEN LLP
                                       300 North LaSalle Street
                                       Chicago, IL 60654
                                       Tel.: (312) 450-6700

            Counsel for the Litigation Trustee and Plan Administrator
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 3 of 95 PageID #: 853




                                         TABLE OF CONTENTS
                                                                                                                    Page

SUMMARY OF ARGUMENT .................................................................................1

STATEMENT OF FACTS ........................................................................................5

I.       Background ......................................................................................................5

         A.       Allied’s Financing .................................................................................5
         B.       The Adverse Decisions Against Yucaipa..............................................6

         C.       Yucaipa’s Fraudulent Transfers ..........................................................10
II.      Procedural History .........................................................................................11

ARGUMENT ...........................................................................................................12
I.       The Court Has Subject-Matter Jurisdiction ...................................................12

         A.       This Is a Core Proceeding ...................................................................13
         B.       The Court Has “Related To” Jurisdiction ...........................................15

                  1.        This Proceeding Has a “Close Nexus” to the Bankruptcy
                            Plan and Proceeding ..................................................................15

                  2.        Defendants’ Contrary Arguments Lack Merit ..........................20

         C.       The Court Has Supplemental and Ancillary Jurisdiction....................24

II.      The Court Should Not Abstain ......................................................................27

         A.       The City Pension Defendants Do Not Establish the
                  Requirements for Mandatory Abstention ............................................28

         B.       Permissive Abstention Is Inappropriate ..............................................31

III.     The Trustee’s Claims Are Adequately Pled ..................................................36

         A.       The Complaint Adequately Alleges Actual Fraudulent
                  Transfers ..............................................................................................37

                  1.        The Trustee’s Claim Is Subject to a Relaxed Standard ............37
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 4 of 95 PageID #: 854




                  2.       The Trustee’s Claim Satisfies Ordinary Rule 9(b)
                           Standards ...................................................................................39

         B.       The Complaint Adequately Alleges Constructive
                  Fraudulent Transfers............................................................................44

         C.       The 2017 Distribution Claims Are Not Time-Barred .........................47

         D.       The Declaratory Judgment Claim Is Not Time-Barred .......................49

IV.      The Defendant-Specific Arguments Lack Merit ...........................................52
         A.       The Foreign LPs Are Subject to Personal Jurisdiction .......................52
                  1.       The Foreign LPs Have Sufficient Minimum Contacts .............53

                  2.       Exercising Jurisdiction Would Comport with Traditional
                           Notions of Fair Play and Substantial Justice ............................55
         B.       The State Defendants Are Not Immune from Suit ..............................57

                  1.       Sovereign Immunity Does Not Apply to This Bankruptcy
                           Proceeding .................................................................................57

                  2.       The State Defendants Do Not Show They Are Arms of
                           the State .....................................................................................60

         C.       The NYC Funds Were Not Entitled to Presuit Notice ........................66

                  1.       This Suit Concerns a Proprietary Function ...............................67
                  2.       The Presuit Notice Requirement Does Not Apply to This
                           Bankruptcy Proceeding .............................................................69

         D.       The ERISA Defendants’ Anti-Alienation Defense Is Meritless .........70

         E.       State Street’s “Mere Conduit” Defense Cannot Be Resolved on
                  a Motion to Dismiss ............................................................................75

CONCLUSION ........................................................................................................77




                                                           ii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 5 of 95 PageID #: 855




                                   TABLE OF AUTHORITIES

                                                                                                       Page(s)
                                                    CASES

A Commc’ns Co. v. Bonutti,
   55 F. Supp. 3d 1119 (S.D. Ill. 2014)...................................................................49

In re AES Thames, L.L.C.,
    No. 11-10334, 2016 WL 11595116 (Bankr. D. Del. Oct. 28, 2016) .................. 75

In re Akbari-Shahmirzadi,
    No. 11-cv-15351, 2016 WL 6783245
    (Bankr. D.N.M. Nov. 14, 2016) ..........................................................................54

In re Allen,
    No. 13-14348, 2014 WL 1246292 (Bankr. D.N.J. Mar. 26, 2014) ....................76
In re Allied Sys. Holdings Inc.,
   556 B.R. 581 (D. Del. 2016) ................................................................................. 8
Alston v. Forsyth,
   379 F. App’x 126 (3d Cir. 2010) ........................................................................29
Am. Imaging of Jersey City, Inc. v. Baldonado,
  No. A-0788-11T2, 2013 WL 3762638
  (N.J. Super. Ct. App. Div. July 19, 2013)...........................................................51
Am. Star Energy & Mins. Corp. v. Stowers,
  457 S.W.3d 427 (Tex. 2015) ..............................................................................51

Am. Tel. & Tel. Co. v. Merry,
  592 F.2d 118 (2d Cir. 1979) ...............................................................................71

In re Amcad Holdings, LLC,
    579 B.R. 33 (Bankr. D. Del. 2017) .....................................................................42

In re APF Co.,
    308 B.R. 183 (Bankr. D. Del. 2004) ...................................................................37

In re Appleseed’s Intermediate Holdings, LLC,
    470 B.R. 289 (D. Del. 2012) ...............................................................................43


                                                       iii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 6 of 95 PageID #: 856




In re AstroPower Liquidating Tr.,
    335 B.R. 309 (Bankr. D. Del. 2005) ............................................................passim

In re AstroPower Liquidating Tr.,
    No. 05-50867, 2006 WL 1173853 (Bankr. D. Del. Apr. 19, 2006) ................... 76

In re AstroPower Liquidating Tr.,
    No. 05-50867, 2006 WL 2850110 (Bankr. D. Del. Oct. 2, 2006) ......................55

In re Bernard L. Madoff Inv. Sec. LLC,
    525 B.R. 871 (Bankr. S.D.N.Y. 2015)..........................................................54, 56

Blake v. Kline,
   612 F.2d 718 (3d Cir. 1979) .............................................................60, 62, 66, 68

Boggs v. Boggs,
  520 U.S. 833 (1997) ............................................................................................73
In re Bos. Generating LLC,
    617 B.R. 442 (S.D.N.Y. 2020) ...........................................................................49
Bradley v. W. Chester Univ. of Pa. State Sys. of Higher Educ.,
   880 F.3d 643 (3d Cir. 2018) ...............................................................................60
In re British Am. Ins. Co. Ltd.,
    600 B.R. 890 (Bankr. S.D. Fla. 2019) ................................................................19
In re BWI Liquidating Corp.,
    437 B.R. 160 (Bankr. D. Del. 2010) .......................................................15, 22, 24
In re CD Liquidation Co., LLC,
    462 B.R. 124 (Bankr. D. Del. 2011) .............................................................19, 20
In re Centaur, LLC,
   No. 10-10799, 2013 WL 4479074 (Bankr. D. Del. Aug. 19, 2013)................... 44

Central Va. Cmty. Coll. v. Katz,
  546 U.S. 356 (2006) .....................................................................................passim
In re Charys Holding Co., Inc.,
    No. 08-10289, 2010 WL 2774852 (Bankr. D. Del. July 14, 2010) ..............37, 43




                                                        iv
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 7 of 95 PageID #: 857




Christy v. Pa. Turnpike Comm’n,
  54 F.3d 1140 (3d Cir. 1995) .........................................................................60, 63

In re Chuza Oil Co.,
    No. 18-11836-T7, 2021 WL 559155
    (Bankr. D.N.M. Feb. 12, 2021)...........................................................................75
Coar v. Kazimir,
  990 F.2d 1413 (3d Cir. 1993) .............................................................................71
Cooper v. Se. Pa. Transp. Auth.,
  548 F.3d 296 (3d Cir. 2008) .........................................................................61, 63
Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela,
   333 F. Supp. 3d 380 (D. Del. 2018)....................................................................62
Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela,
   932 F.3d 126 (3d Cir. 2019) .............................................................24, 25, 26, 27
In re DBSI, Inc.,
   409 B.R. 720 (Bankr. D. Del. 2009) ...................................................................35

In re DBSI, Inc.,
   445 B.R. 344 (Bankr. D. Del. 2011) ...................................................................43

In re DBSI, Inc.,
   463 B.R. 709 (Bankr. D. Del. 2012) ...................................................................58
In re DBSI, Inc.,
   467 B.R. 309 (Bankr. D. Del. 2012) ...................................................................56

Deane v. Maginn,
  No. 17-cv-346, 2022 WL 624415 (Del. Ch. Mar. 2, 2022) ................................49

Del. Bay Surgical Servs., P.C. v. Swier,
  900 A.2d 646 (Del. 2006) ...................................................................................48

Deutsche Bank AG v. Devon Park Bioventures, L.P.,
  C.A. No. 2017-0822-SG, 2021 WL 2711472
  (Del. Ch. June 30, 2021) .....................................................................................55

In re Dewey & LeBouef LLP,
   522 B.R. 464 (Bankr. S.D.N.Y. 2014)..........................................................53, 54


                                                        v
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 8 of 95 PageID #: 858




Dick v. Town of Wappinger,
   63 A.D.3d 661 (N.Y. App. Div. 2009) ...............................................................67

In re Direct Response Media, Inc.,
    466 B.R. 626 (Bankr. D. Del. 2012) ...................................................................31

Donaldson v. Bernstein,
  104 F.3d 547 (3d Cir. 1997) .........................................................................18, 19

In re DVI, Inc.,
    No. 03-12656, 2008 WL 4239120 (Bankr. D. Del. Sept. 16, 2008) .................. 75

In re Enron Corp. Sec., Deriv. & “ERISA” Litig.,
   314 B.R. 354 (S.D. Tex. 2004) ...........................................................................32

Evanston Ins. Co. v. Dillard Dep’t Stores, Inc.,
  602 F.3d 610 (5th Cir. 2010) ..............................................................................51
In re EXDS, Inc.,
    352 B.R. 731 (Bankr. D. Del. 2006) .................................................21, 22, 23, 24
In re FAH Liquidating Corp.,
    567 B.R. 464 (Bankr. D. Del. 2017) .............................................................18, 36
Febres v. Camden Bd. of Educ.,
  445 F.3d 227 (3d Cir. 2006) ...................................................................61, 64, 65
Fitchik v. N.J. Transit Rail Operations, Inc.,
   873 F.2d 655 (3d Cir. 1989) .........................................................................64, 65
Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct.,
  141 S. Ct. 1017 (2021) ........................................................................................53
In re FormTech Indus., LLC,
    439 B.R. 352 (Bankr. D. Del. 2010) .............................................................13, 14

Frederico v. Home Depot,
   507 F.3d 188 (3d Cir. 2007) ...............................................................................39
French v. Long Island Child.’s Museum
   163 A.D.3d 778 (N.Y. App. Div. 2018) .............................................................67




                                                        vi
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 9 of 95 PageID #: 859




Gambone v. Lite Rock Drywall,
  288 F. App’x 9 (3d Cir. 2008) ......................................................................25, 54

In re Glencoe Acquisition, Inc.,
    No. 12-12071, 2015 WL 3777972 (Bankr. D. Del. June 16, 2015) ................... 44

Gobeille v. Liberty Mut. Ins. Co.,
  577 U.S. 312 (2016) ............................................................................................70

In re Goldschein,
   241 B.R. 370 (Bankr. D. Md. 1999) ...................................................................74

Graphics Props. Holdings Inc. v. Asus Comput. Int’l, Inc.,
  964 F. Supp. 2d 320 (D. Del. 2013)....................................................................56

In re Green Field Energy Servs., Inc.,
    No. 13-12783, 2015 WL 5146161 (Bankr. D. Del. Aug. 31, 2015).............42, 43
Guidry v. Sheet Metal Workers Nat’l Pension Fund,
  493 U.S. 365 (1990) ............................................................................................72
In re Haws,
    158 B.R. 965 (Bankr. S.D. Tex. 1993) ...............................................................21
In re Heritage Org., LLC,
    454 B.R. 353 (Bankr. N.D. Tex. 2011).........................................................20, 21
Hopkins v. Plant Insulation Co.,
  342 B.R. 703 (D. Del. 2006) ...............................................................................36
IFC Interconsult, AG v. Safeguard Int’l Partners, LLC,
  438 F.3d 298 (3d Cir. 2006) ...............................................................................25
In re Imp. & Mini Car Parts, Ltd., Inc.,
    200 B.R. 857 (Bankr. N.D. Ind. 1996) ...............................................................21

ISN Software Corp. v. Richards, Layton & Finger, P.A.,
   226 A.3d 727 (Del. 2020) ...................................................................................50
JPMorgan Chase Bank, N.A. v. Ballard,
  213 A.3d 1211 (Del. Ch. 2019) ....................................................................38, 39




                                                        vii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 10 of 95 PageID #: 860




Kadlecik v. Vill. of Endicott,
  174 A.D.2d 923 (N.Y. App. Div. 1991) .............................................................67

Katz v. City of New York,
  661 N.E.2d 1374 (N.Y. 1995).............................................................................69

Kingsbury v. Westlake Mgmt. Co.,
   674 F. App’x 792 (10th Cir. 2016) ...............................................................50, 51

Kirkland v. DiLeo,
   581 F. App’x 111 (3d Cir. 2014) ........................................................................63

In re LaRoche Indus.,
   312 B.R. 249 (Bankr. D. Del. 2004) ...................................................................33

Laurel Gardens, LLC v. Mckenna,
  948 F.3d 105 (3d Cir. 2020) .........................................................................52, 53
In re Lenox Healthcare, Inc.,
    343 B.R. 96 (Bankr. D. Del. 2006) .....................................................................76
In re LGI, Inc.,
    322 B.R. 95 (Bankr. D.N.J. 2005) ....................................................16, 18, 20, 23
In re Liquid Holdings Grp., Inc.,
   No. 16-10202, 2019 WL 3380820 (Bankr. D. Del. July 25, 2019) ....................37
Lyman Com. Sols., Inc. v. Lung,
  No. 12-cv-4398, 2015 WL 1808693 (S.D.N.Y. Apr. 20, 2015) .........................49
Mackey v. Lanier Collection Agency & Serv., Inc.,
  486 U.S. 825 (1988) ............................................................................................72
Maliandi v. Montclair State Univ.,
  845 F.3d 77 (3d Cir. 2016) ...........................................................................61, 64

Master-Halco, Inc. v. D’Angelo,
  351 B.R. 267 (D. Conn. 2006) ............................................................................32
In re Maxus Energy Corp.,
   597 B.R. 235 (Bankr. D. Del. 2019) ............................................................passim




                                                       viii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 11 of 95 PageID #: 861




Milgram v. Orthopedic Assocs. Defined Contribution Pension Plan,
   666 F.3d 68 (2d Cir. 2011) .................................................................................72

In re Millennium Lab Holdings II, LLC,
    No. 15-12284, 2019 WL 1005657 (Bankr. D. Del. Feb. 28, 2019)..............45, 46

In re Moon,
    385 B.R. 541 (Bankr. S.D.N.Y. 2008)................................................................76

Morgan Guar. Tr. Co. of N.Y. v. Blacksburg Assocs., L.P.,
  No. 90-cv-6076, 1990 WL 209297 (E.D. Pa. 1990)...........................................54

Mortensen v. First Fed. Sav. & Loan Ass’n,
  549 F.2d 884 (3d Cir. 1977) ...............................................................................62

N.Y. State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins.
   Co., 514 U.S. 645 (1995) ....................................................................................74
Nat’l City Mortg. Co. v. Stephen,
  647 F.3d 78 (3d Cir. 2011) ...........................................................................27, 31
O’Connor v. Sandy Lane Hotel Co.,
  496 F.3d 312 (3d Cir. 2007) ...................................................................55, 56, 57
O’Toole v. Arlington Tr. Co.,
  681 F.2d 94 (1st Cir. 1982) .................................................................................72
Oakwood Shopping Ctr., Ltd. P’ship v. Villa Enters. of Midwest, Inc.,
  No. Civ. A. 10-2758, 2011 WL 3350402 (E.D. La. Aug. 3, 2011) ....................29
Pacor, Inc. v. Higgins,
  743 F.2d 984 (3d Cir. 1984) ...............................................................................15
In re Pan Am. Corp.,
    950 F.2d 839 (2d Cir. 1991) ...............................................................................33

Patterson v. Pa. Liquor Control Bd.,
   915 F.3d 945 (3d Cir. 2019) .........................................................................60, 61
Patterson v. Shumate,
   504 U.S. 753 (1992) ............................................................................................72




                                                         ix
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 12 of 95 PageID #: 862




In re PennySaver USA Publ’g, LLC,
    602 B.R. 256 (Bankr. D. Del. 2019) ...................................................................40

Pennzoil Prods. Co. v. Colelli & Assocs., Inc.,
  149 F.3d 197 (3d Cir. 1998) ...............................................................................55

Pepsi-Cola Bottling Co. of Salisbury, Md. v. Handy,
  No. 1973-S, 2000 WL 364199 (Del. Ch. Mar. 15, 2000) ...................................49

In re Phila. Ent. & Dev. Partners, L.P.,
    611 B.R. 51 (Bankr. E.D. Pa. 2019) ...................................................................58

Planned Consumer Mktg. v. Coats & Clark, Inc.,
   522 N.E.2d 30 (N.Y. 1988).................................................................................74

Rabadi v. City of Yonkers,
  No. 21-cv-1258, 2022 WL 889734 (S.D.N.Y. Mar. 25, 2022) ..........................69
Rahl v. Bande,
  316 B.R. 127 (S.D.N.Y. 2004) ...........................................................................32
Ramirez v. STi Prepaid LLC,
  644 F. Supp. 2d 496 (D.N.J. 2009) .....................................................................39
Republic of Argentina v. Weltover, Inc.,
  504 U.S. 607 (1992) ............................................................................................68
Resnik v. Woertz,
   774 F. Supp. 2d 614 (D. Del. 2011)....................................................................44
In re Resorts Int’l, Inc.,
    372 F.3d 154 (3d Cir. 2004) ........................................................................passim
In re Rocco Co.,
    No. 10-18799, 2014 WL 7404566 (D.N.J. Dec. 29, 2014) ................................76

Rovinsky v. Choctaw Mfg. & Dev. Corp.,
  No. 09-cv-324, 2009 WL 3763989 (D.N.J. Nov. 10, 2009) ...............................66
Sandvik AB v. Advent Int’l Corp.,
   83 F. Supp. 2d 442 (D. Del. 1999)......................................................................50




                                                         x
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 13 of 95 PageID #: 863




Schall v. Joyce,
   885 F.2d 101 (3d Cir. 1989) ...............................................................................33

Schrempf v. State,
   487 N.E.2d 883 (N.Y. 1985).........................................................................67, 68

Schwegmann Bank & Tr. Co. of Jefferson v. Simmons,
   880 F.2d 838 (5th Cir. 1989) ..............................................................................54

Sebastian v. State,
   720 N.E.2d 878 (N.Y. 1999)...............................................................................67

Seiden v. Kaneko,
   No. CV 9861-VCN, 2015 WL 7289338 (Del. Ch. Nov. 3, 2015)......................45

Seila Law LLC v. Consumer Fin. Prot. Bureau,
   140 S. Ct. 2183 (2020) ........................................................................................65
In re Semcrude, L.P.,
    442 B.R. 258 (Bankr. D. Del. 2010) .......................................................28, 30, 31
In re Seven Fields Dev. Corp.,
    505 F.3d 237 (3d Cir. 2007) ...............................................................................24
Shaffer v. Heitner,
   433 U.S. 186 (1977) ............................................................................................55
Shaw v. Long Island R.R. Co.,
   No. 16-cv-6972, 2017 WL 5634122 (E.D.N.Y. Nov. 22. 2017) ........................69
In re Somerset Reg’l Water Res., LLC,
    949 F.3d 837 (3d Cir. 2020) ...............................................................................13
In re SportCo Holdings, Inc.,
    No. 19-11299, 2021 WL 4823513 (Bankr. D. Del. Oct. 14, 2021) ....................42

In re Sportsman’s Warehouse, Inc.,
    457 B.R. 372 (Bankr. D. Del. 2011) ...................................................................30
In re SRC Liquidation LLC,
   581 B.R. 78 (D. Del. 2017) .................................................................................38




                                                         xi
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 14 of 95 PageID #: 864




Stoe v. Flaherty,
   436 F.3d 209 (3d Cir. 2006) ...............................................................................28

Sunseri v. Proctor,
   487 F. Supp. 2d 905 (E.D. Mich. 2007) .............................................................51

Thomas, Head & Greisen Emps. Tr. v. Buster,
  95 F.3d 1449 (9th Cir. 1996) ..............................................................................25

In re Today’s Destiny, Inc.,
    Adv. No. 06-3285, 2009 WL 1232108
    (Bankr. S.D. Tex. May 1, 2009) .........................................................................29
Torres v. City of New York,
   No. 09-cv-9357, 2017 WL 2191601 (S.D.N.Y. May 17, 2017) .........................67
Townsquare Media Inc. v. Brill,
  652 F.3d 767 (7th Cir. 2011) ..............................................................................26
In re Transcolor Corp.,
    Adv. No. 05-9103, 2007 WL 2916408 (Bankr. D. Md. 2007) ...........................21

Trapp v. New Jersey,
   No. 17-cv-10709, 2018 WL 4489680 (D.N.J. Sept. 19, 2018) ..........................63

Travelers Indem. Co. v. Bailey,
   557 U.S. 137 (2009) ......................................................................................19, 24
In re Truong,
    285 F. App’x 837 (3d Cir. 2008) ........................................................................26

Turturro v. City of New York,
   68 N.E.3d 693 (N.Y. 2016)...........................................................................67, 68

In re UD Dissolution Corp.,
    629 B.R. 11 (Bankr. D. Del. 2012) .....................................................................56

In re United Tax Grp., LLC,
    No. 14-10486, 2018 WL 1135496 (Bankr. D. Del. Feb. 28, 2018)....................40
In re Valley Media, Inc.,
    289 B.R. 27 (Bankr. D. Del. 2003) .....................................................................34



                                                       xii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 15 of 95 PageID #: 865




Valley Nat’l Bank of Ariz. v. A.E. Rouse & Co.,
   121 F.3d 1332 (9th Cir. 1997) ............................................................................51

In re Vaso Active Pharms., Inc.,
   No. 10-10855, 2012 WL 4793241 (Bankr. D. Del. Oct. 9, 2012) ......................43

In re Vaughan Co., Realtors,
    493 B.R. 597 (Bankr. D.N.M. 2013) ..................................................................73

Velis v. Kardanis,
   949 F.2d 78 (3d Cir. 1991) .................................................................................74

In re Venoco LLC,
    998 F.3d 94 (3d Cir. 2021) ..........................................................................passim

Wagner v. Galbreth,
  500 B.R. 42 (D.N.M. 2013) ..........................................................................72, 73
In re Weiand Auto. Indus.,
    612 B.R. 824 (Bankr. D. Del. 2020) .............................................................14, 19
In re Wellington Apartment, LLC,
    353 B.R. 465 (Bankr. E.D. Va. 2006).................................................................26
World-Wide Volkswagen Corp. v. Woodson,
  444 U.S. 286 (1980) ............................................................................................53

                   CONSTITUTIONAL PROVISIONS, STATUTES, AND RULES

U.S. Const. art. I, § 8, cl. 4 .......................................................................................57
28 U.S.C. § 157(b)(3) ...............................................................................................14

28 U.S.C. § 1334 ..................................................................................................1, 24

28 U.S.C. § 1334(a) ..................................................................................................13

28 U.S.C. § 1334(b) ..................................................................................................13

28 U.S.C. § 1334(c)(1) .............................................................................................31

28 U.S.C. § 1334(c)(2) .............................................................................................28



                                                         xiii
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 16 of 95 PageID #: 866




29 U.S.C. § 1056(d)(1) .................................................................................70, 71, 73

29 U.S.C. § 1144(a) ..................................................................................................73
26 C.F.R. § 1.041(a)-13(c)(1) ...................................................................................71

Cal. Const. art. XVI, § 17 .........................................................................................65

Cal. Gov’t Code § 20095 ..........................................................................................65
Cal. Gov’t Code § 20120 ..........................................................................................65

1 Del. C. § 303 ..........................................................................................................48

6 Del. C. § 15-306(a) ..........................................................................................50, 51
6 Del. C. § 15-307(b) ................................................................................................51
6 Del. C. § 15-307(c) ................................................................................................51

6 Del. C. § 15-307(d) ................................................................................................51

6 Del. C. § 17-403(b) ................................................................................................50
6 Del. C. § 17-607(c) ....................................................................................47, 48, 49
6 Del. C. § 18-607(c) ................................................................................................48
6 Del. C. § 1304(a)(1)...............................................................................................11

6 Del. C. § 1304(a)(2)...............................................................................................11

6 Del. C. § 1304(a)(2)(b) ..........................................................................................45

6 Del. C. § 1304(b) ...................................................................................................40

6 Del. C. § 1304(b)(1) ..............................................................................................40

6 Del. C. § 1304(b)(3) ..............................................................................................41
6 Del. C. § 1304(b)(4) ..............................................................................................41

6 Del. C. § 1304(b)(5) ..............................................................................................42

6 Del. C. § 1304(b)(8) ..............................................................................................41


                                                           xiv
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 17 of 95 PageID #: 867




6 Del. C. § 1304(b)(9) ..............................................................................................42

6 Del. C. § 1305(a) ...................................................................................................11
N.M. Stat. § 6-8-2(A) ...............................................................................................65

N.M. Stat. § 6-8-3(C)................................................................................................65

N.M. Stat. § 6-8-7 .....................................................................................................65
N.M. Stat. § 6-8-10 ...................................................................................................65

N.M. Stat. §§ 45-7-601 et seq...................................................................................65

N.Y. Gen. Mun. Law § 50-e .....................................................................................66
N.Y. Gen. Mun. Law § 50-i(1) .................................................................................66
N.Y.C. Admin. Code § 7-201(a) ..............................................................................66

Okla. Stat. tit. 54, § 1-306(a) ....................................................................................51

Okla. Stat. tit. 54, § 1-307(b) ....................................................................................51
Okla. Stat. tit. 54, § 1-307(c) ....................................................................................51
Okla. Stat. tit. 54, § 1-307(d) ....................................................................................51

                                            OTHER AUTHORITIES
Collier on Bankruptcy (16th ed. 2022) ........................................................26, 28, 29

Charles A. Wright et al., Federal Practice and Procedure (rev. 2022) .................. 38




                                                           xv
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 18 of 95 PageID #: 868




       Catherine E. Youngman, in her capacity as the Litigation Trustee and Plan

Administrator (the “Trustee”) for ASHINC Corporation (formerly known as Allied

Systems Holdings, Inc.) and related Debtors (“Allied”), respectfully submits this

combined opposition to (1) the Board of Fire and Police Pension Commissioners

and the Board of Administration of the Los Angeles City Employees’ Retirement

System’s (the “City Pension Defendants’ ”) Motion to Dismiss [D.I. 20],

(2) Yucaipa American Alliance Fund I, LLC and Yucaipa American Management,

LLC’s (the “Yucaipa Defendants’ ”) Motion to Dismiss [D.I. 29], and (3) the

Limited Partner Defendants’ (the “LP Defendants’,” and together with the others,

the “Defendants”) Motion to Dismiss [D.I. 22], in the above-captioned adversary

proceeding (the “Adversary Proceeding”).

                         SUMMARY OF ARGUMENT

       1.    The Court has jurisdiction.          The Court has subject-matter

jurisdiction over this Adversary Proceeding for several independent reasons.

       First, this is a “core” proceeding under 28 U.S.C. § 1334. A proceeding to

enforce an order or judgment in another core proceeding is itself a core proceeding.

The Trustee’s fraudulent transfer claims seek to enforce the Bankruptcy Court’s
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 19 of 95 PageID #: 869




judgment in prior core proceedings against Yucaipa American Alliance Fund I,

L.P. and Yucaipa American Alliance (Parallel) Fund I, L.P. (“Yucaipa”).2

       Alternately, the Court has “related to” jurisdiction.         The Adversary

Proceeding has a “close nexus” to Allied’s bankruptcy plan. The Plan expressly

contemplated the proceedings against Yucaipa and provided that the Bankruptcy

Court would retain jurisdiction over them. This Adversary Proceeding also affects

the implementation of the Plan and the integrity of the bankruptcy process.

       Finally, this Court has supplemental and ancillary jurisdiction. Even apart

from any bankruptcy-specific grant of jurisdiction, federal courts retain jurisdiction

to enforce their own judgments by recovering fraudulent transfers that attempt to

evade those judgments. That principle authorizes these proceedings too.

       2.    The Court should not abstain. The City Pension Defendants do not

satisfy their burden of establishing the requirements for mandatory abstention,

including the requirement that the action can be “timely adjudicated” in state court.

Nor is permissive abstention warranted. Abstention would result in piecemeal

state-court litigation all over the country and undermine, rather than promote,

judicial economy.


2
  The Trustee is a judgment creditor against Yucaipa. Compl. ¶ 1. This Adversary
Proceeding also named Yucaipa’s General Partner, Yucaipa American Fund I,
LLC, as a defendant. Id. ¶ 7. Yucaipa’s General Partner declined the Trustee’s
request that it submit to entry of judgment for Yucaipa’s unsatisfied debts owed to
the Debtors’ estate. Id. ¶ 149.

                                          2
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 20 of 95 PageID #: 870




      3.     The Trustee’s claims are adequately pled.

      a.     The Trustee’s actual fraudulent transfer claim is subject to a relaxed

pleading standard. Even if it were not, the claim satisfies Rule 9(b). The Trustee

identifies each of the alleged fraudulent transfers by date, amount, and recipient.

The Trustee also alleges numerous “badges of fraud” sufficient to show intent to

defraud. Chief among those badges is that Yucaipa made each of the transfers

after it had already suffered significant defeats in litigation proceedings and was

facing hundreds of millions of dollars in damages.

      b.     The constructive fraudulent transfer claim is similarly well-pled.

Yucaipa reasonably should have contemplated when it made the transfers at issue

that it would incur substantial liability. The transfers left Yucaipa unable to satisfy

those foreseeable liabilities.

      c.     The Trustee’s claims relating to Yucaipa’s 2017 distributions are

timely. The claims are subject to a four-year limitations period. The three-year

deadline Defendants invoke applies only when claims are brought by a

partnership, not to claims brought by third parties such as those at issue here.

      d.     The Trustee’s claim for a declaratory judgment that Yucaipa’s

General Partner is jointly and severally liable for the June 23, 2021 Judgment

against the partnership is similarly timely. That claim did not accrue until the

Bankruptcy Court entered that Judgment. This suit was filed mere months later.


                                          3
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 21 of 95 PageID #: 871




      4.     The defendant-specific arguments are meritless.

      a.     The Foreign LP Defendants are subject to personal jurisdiction.

Those defendants have sufficient minimum contacts with the United States because

they chose to become partners in a Delaware partnership subject to a Delaware

choice-of-law clause, to assert defenses unique to Delaware partnerships, and to

receive the fraudulent transfers at issue from that Delaware partnership. Those are

sufficient contacts to support personal jurisdiction.

      b.     The so-called “State” Defendants are not immune from suit under the

Eleventh Amendment.         Sovereign immunity does not apply in bankruptcy

proceedings to recover fraudulent transfers. And the State Defendants fail to

establish that they are in fact arms of the State.

      c.     The NYC Funds were not entitled to presuit notice. New York’s

notice requirements apply to governmental, not proprietary, functions.         The

conduct at issue — the receipt of fraudulent transfers in connection with a fund’s

investment activities — is quintessentially proprietary. Additionally, the presuit

notice provision requirements are inapplicable because they stem from state-law

immunity that does not apply in this bankruptcy proceeding.

      d.     The ERISA Defendants’ reliance on ERISA’s anti-alienation

provision similarly fails. That provision protects only benefit payments to plan




                                           4
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 22 of 95 PageID #: 872




beneficiaries. It does not shield ERISA plans themselves from claims arising out

of their investment activities.

      e.     Finally, State Street is not entitled to dismissal as a “mere conduit.”

That argument is an affirmative defense that cannot be resolved at this stage.

                             STATEMENT OF FACTS
I.    BACKGROUND

      A.     Allied’s Financing
      Allied operated a car hauling business in North America. Compl. ¶ 54.3

After Allied emerged from an earlier bankruptcy in 2007, Yucaipa held 66% of its

equity and controlled its board of directors. Id. ¶¶ 57-58. Allied’s exit financing

included a $265 million First Lien facility.       Id. ¶ 60.   The First Lien Credit

Agreement (“FLCA”) provided that only a “Requisite Lender” — one or more

lenders holding more than 50% of the outstanding debt — could take certain

actions on behalf of all lenders. Id. ¶¶ 60, 64.

      When Allied’s financial condition continued to deteriorate, Yucaipa

negotiated a Third Amendment to the FLCA with the First Lien lenders. Compl.

¶ 67. That amendment obligated Yucaipa to make capital contributions upon the

acquisition of debt, limited the amount of debt it could purchase, and prohibited

3
  “Compl.” refers to the Trustee’s Complaint in this Adversary Proceeding, Del.
Bankr. Adv. 21-51179. See Bankr. Adv. Pro., D.I. 1. “Bankr. Adv. Pro., D.I., __”
refers to documents filed in the Adversary Proceeding. The Complaint is also filed
on this Court’s docket at D.I. 35.

                                           5
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 23 of 95 PageID #: 873




Yucaipa from acting as a Requisite Lender. Id. Yucaipa also negotiated for an

amendment to Allied’s Second Lien facility enabling Yucaipa to buy debt with an

option of converting acquired Second Lien holdings into equity. Id. ¶ 68. Despite

these maneuvers, Allied continued to struggle. After Allied defaulted on certain

covenants in the FLCA, the First Lien lenders were poised to exercise their

remedies, which would have wiped out Yucaipa’s substantial equity investment.

Id. ¶¶ 71-72.

      With its investments in peril, Yucaipa tried to become a Requisite Lender

despite the FLCA’s restrictions. Compl. ¶ 73. In August 2009, Yucaipa purchased

more than 50% of Allied’s First Lien debt from another lender and caused Allied

to enter into a Fourth Amendment removing the restrictions on Yucaipa’s

ownership of that debt. Id. ¶¶ 79-80. In 2012, other First Lien lenders — BDCM

Opportunity Fund II, LP, Black Diamond CLO 2005-1 Ltd., and Spectrum

Investment Partners, L.P. (together, “BD/S”) — sued Yucaipa in New York state

court, seeking to invalidate the Fourth Amendment. Id. ¶ 88. The New York court

granted that relief, and that decision was affirmed on appeal. Id. ¶¶ 90-92.

      B.        The Adverse Decisions Against Yucaipa

      In May 2012, while the New York lawsuit was ongoing, BD/S filed an

involuntary petition for bankruptcy against Allied in the Delaware Bankruptcy

Court. Compl. ¶ 93. The next month, Allied filed its own voluntary bankruptcy



                                          6
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 24 of 95 PageID #: 874




petitions. Id. ¶ 94. Allied’s creditors then filed two adversary proceedings against

Yucaipa in the Bankruptcy Court (the “Yucaipa Adversary Proceedings”). Id. ¶¶ 1,

95.4 Allied also filed a third, related adversary proceeding (the “Allied Adversary

Proceeding”).5 The Yucaipa Adversary Proceedings sought over one hundred

million dollars in damages from Yucaipa for various claims, including breach of

the FLCA’s capital contribution requirements, recovery and avoidance of

fraudulent transfers, breaches of fiduciary duties, and equitable subordination of

Yucaipa’s debt holdings. Id. ¶ 96.

      In December 2015, the Bankruptcy Court confirmed Allied’s Chapter 11

Plan of Reorganization. Confirmation Order, Del. Chapter 11, D.I. 3383.6 The

Confirmation Order appointed Catherine Youngman as the Trustee for the

Litigation Trust created by the Plan and the Plan Administrator of the bankruptcy

cases. Id. ¶¶ 20, 22. Under the Plan, the Trustee is the Estate’s representative

responsible for, among other things, prosecuting “Litigation Claims” on behalf of

the Debtors’ estates. Del. Chapter 11, D.I. 3360-1 (“Plan”) at 3-10 (definitions);

4
  Those two actions are (1) the “Estate Action” commenced by Allied’s Official
Committee of Unsecured Creditors in February 2013, Del. Bankr. Adv. 13-50530,
and (2) the “Lender Action” commenced by BD/S in November 2014, Del. Bankr.
Adv. 14-50971. Compl. ¶¶ 1, 95.
5
   That proceeding sought a judicial declaration regarding the validity and
enforceability of the Third and Fourth Amendments and to determine which First
Lien Lender was the Requisite Lender. Del. Bankr. Adv. 12-50947.
6
  “Del. Chapter 11, D.I. __” refers to documents filed in the Delaware Chapter 11
Case, Del. Bankr. Case No. 12-11564.

                                         7
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 25 of 95 PageID #: 875




id. § 5.10(b). Those Litigation Claims are defined to include actions “arising out

of ” or “related to” the Yucaipa Adversary Proceedings. Plan at 9-10. After the

Plan became effective, the Trustee was substituted as plaintiff in those

proceedings. Plan §§ 5.10(c), 5.11(a)-(b); Substitution Order, Yucaipa Adv. Pro.,

D.I. 415. 7 The Bankruptcy Court retained jurisdiction to “hear and determine any

and all adversary proceedings, motions, applications, and contested or litigated

matters arising out of, under, or related to, the Litigation Claims.” Plan § 9.1(e); id.

at 9 (definition of “Litigation Claims”).

      In August 2013, the Bankruptcy Court granted partial summary judgment in

favor of Allied’s creditors in both the Estate Action and the Allied Adversary

Proceeding, holding that “(1) BD/S, not Yucaipa, were Requisite Lenders, (2) the

Third Amendment was validly enacted and governed, and (3) Yucaipa was

collaterally estopped from asserting the Fourth Amendment’s validity.” Compl.

¶ 97. Yucaipa appealed that ruling but lost. See In re Allied Sys. Holdings Inc.,

556 B.R. 581, 608-09 (D. Del. 2016), aff’d, In re ASHINC Corp., 683 F. App’x

131, 142 (3d Cir. 2017).      Yucaipa thus knew by early 2017 that the Fourth

Amendment was invalid and that the Third Amendment was binding. Compl. ¶ 98.




7
  “Yucaipa Adv. Pro., D.I. __” refers to documents filed in the Estate Action, Del.
Bankr. Adv. 13-50530. This brief excludes references to duplicate filings entered
in the Lender Action, Del. Bankr. Adv. 14-50971.

                                            8
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 26 of 95 PageID #: 876




Additional adverse rulings by 2017 eliminated Yucaipa’s discernable defenses,

crossclaims, and counterclaims. Id. ¶ 99.

      On May 4, 2021, the Bankruptcy Court issued a further order granting in

part and denying in part the Trustee’s and Yucaipa’s cross-motions for summary

judgment. Yucaipa Adv. Pro., D.I. 825 (the “2021 Summary Judgment Decision”).

On June 23, 2021, the Bankruptcy Court awarded the Trustee damages of $132.4

million on certain claims asserted in the Estate Action (the “Judgment”). Yucaipa

Adv. Pro., D.I. 841.8 Yucaipa has not satisfied the Judgment and has represented

in court filings and post-judgment discovery responses that it lacks sufficient assets

to pay. Compl. ¶ 2.

      In March 2022, the Bankruptcy Court conducted a trial on the remaining

claims in the Yucaipa Adversary Proceedings. On May 2, 2022, the Bankruptcy

Court entered a judgment that the Trustee take nothing on those claims. See

Yucaipa Adv. Pro., D.I. 1008. That judgment is on appeal and presently stayed

before this Court. See Dist. Ct. Case Nos. 22-cv-634 & 22-cv-635.9




8
  Yucaipa has appealed the Judgment, and the appeal is presently stayed before this
Court. See Dist. Ct. Case Nos. 21-cv-994 & 21-cv-995.
9
  This Court recently decided related objections by Yucaipa concerning the breach
of contract claim in the Lender Action. See Memorandum Opinion at 32, Dist. Ct.
Case No. 21-cv-01060, D.I. 5 (D. Del. July 11, 2022). Yucaipa noticed an appeal
from that decision to the Third Circuit. Id., D.I. 7 (Aug. 4, 2022).

                                            9
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 27 of 95 PageID #: 877




      C.     Yucaipa’s Fraudulent Transfers

      Despite the ongoing Yucaipa Adversary Proceedings and the string of

adverse decisions it suffered in those proceedings, Yucaipa transferred

approximately $379.7 million to its limited partner investors between October

2017 and May 2019. Compl. ¶ 103.

      Yucaipa concealed those transfers from the Trustee for years. In May 2019,

the Trustee’s counsel noticed a deposition of Yucaipa’s corporate representative.

Compl. ¶ 109. Despite being told that one of the topics to be addressed was

Yucaipa’s ability to satisfy any judgment, the corporate representative was unable

to testify about it. Id. ¶¶ 110-112. In early 2020, after Yucaipa refused to disclose

the identity of recipients of distributions it had made, the Trustee moved for Rule

2004 discovery in the Bankruptcy Court, which Yucaipa opposed. Id. ¶¶ 114-15.

The Bankruptcy Court finally allowed discovery to proceed in July 2021 after

entry of the Judgment. Id. ¶ 120. And Yucaipa finally produced records that

allowed the Trustee to identify certain transfers. Id.

      Those records did not provide the Trustee with complete information.

Yucaipa withheld discovery relating to non-investor transfers until July 2022, well

after the Trustee filed this Adversary Proceeding and more than a year after the

Bankruptcy Court ordered discovery. Zaiger Decl. ¶¶ 2 - 3 & Exs. 1, 2. Moreover,




                                          10
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 28 of 95 PageID #: 878




the Trustee has received discovery only from Yucaipa, not from any of the

transferees. Id. ¶ 4.

         Yucaipa has also tried unsuccessfully to delay enforcement of the Judgment.

It sought a stay pending appeal while refusing to post any bond. Compl. ¶¶ 122-

124. The Bankruptcy and District Courts granted limited stays, which expired in

August 2021. Id. Yucaipa still has not paid any portion of the Judgment. Id.

¶ 126.

II.      PROCEDURAL HISTORY
         In October 2021, the Trustee filed the Adversary Proceeding at issue here.

The Complaint names as defendants Yucaipa and its limited partner investors that

received the transfers.      Compl. ¶ 4.        The Complaint asserts three counts:

(1) avoidance and recovery of actual fraudulent transfers under the Uniform

Fraudulent Transfer Act (“UFTA”), 6 Del. C. § 1304(a)(1); (2) avoidance and

recovery of constructive fraudulent transfers under the UFTA, 6 Del. C.

§§ 1304(a)(2), 1305(a); and (3) a declaratory judgment that Yucaipa’s General

Partner is liable for Yucaipa’s debts. Id. ¶¶ 129-150.

         On March 4, 2022, the LP Defendants filed a Motion to Withdraw the

Reference with respect to the Adversary Proceeding. D.I. 1. The Trustee and the

LP Defendants, with the consent of the Yucaipa Defendants, then stipulated to




                                           11
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 29 of 95 PageID #: 879




withdraw the bankruptcy reference and have the Adversary Proceeding proceed in

this Court. D.I. 18. This Court approved that stipulation on July 20, 2022. D.I. 19.

      On May 31, 2022, and June 1, 2022, the Yucaipa Defendants, the LP

Defendants, and the City Pension Defendants each filed separate Motions to

Dismiss in the Bankruptcy Court. Bankr. Adv. Pro., D.I. 74, 76, 79. After this

Court withdrew the reference, the parties refiled those motions on this Court’s

docket. D.I. 20, 22, 29. This Opposition is the Trustee’s combined response.

                                   ARGUMENT

      Yucaipa distributed hundreds of millions of dollars to its investors for no

consideration despite the imminent prospect of massive judgments it had no other

means to pay. Following Yucaipa’s inevitable claim that it does not have assets to

satisfy those judgments, the Trustee now seeks to recover those fraudulent

transfers. Defendants raise a panoply of jurisdictional and other defenses in an

effort to retain their ill-gotten gains. None of them has any merit.

I.    THE COURT HAS SUBJECT-MATTER JURISDICTION
      Defendants first dispute the Court’s subject-matter jurisdiction to hear these

proceedings. City Defs. Br. [D.I. 21] 9-16; Yucaipa Br. [D.I. 29] 8-20. In fact, the

Court has jurisdiction on three separate grounds.

      Under the Bankruptcy Code, district courts have “original and exclusive

jurisdiction of all cases under title 11” and “original but not exclusive jurisdiction



                                         12
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 30 of 95 PageID #: 880




of all civil proceedings arising under title 11, or arising in or related to cases under

title 11.” 28 U.S.C. §§ 1334(a), (b). “[C]ases under title 11,” and proceedings

“arising in” or “arising under” title 11, are “core” proceedings. In re Resorts Int’l,

Inc., 372 F.3d 154, 161 (3d Cir. 2004). Proceedings “related to cases under title

11” are “non-core.” Id. at 161-62.

      This Court has jurisdiction for three independent reasons. The Court has

“core” jurisdiction because this proceeding seeks to enforce a judgment issued in

another core proceeding.       Alternately, the Court has “non-core” jurisdiction

because this proceeding has a “close nexus” to Allied’s bankruptcy plan. Finally,

this Court has supplemental and ancillary jurisdiction to enforce the Judgment

previously entered in the Yucaipa Adversary Proceedings.

      A.     This Is a Core Proceeding

      This is a core proceeding because the Trustee seeks to enforce a judgment

that was itself an exercise of the Bankruptcy Court’s core jurisdiction.

“Enforcement and interpretation of orders issued in core proceedings are also

considered core proceedings within the bankruptcy court’s jurisdiction.” In re

FormTech Indus., LLC, 439 B.R. 352, 357 (Bankr. D. Del. 2010). Where the

parties “assert[ ] rights that were established in connection with one of the

Bankruptcy Court’s core functions,” that subsequent dispute also qualifies as

“core.” In re Somerset Reg’l Water Res., LLC, 949 F.3d 837, 844 (3d Cir. 2020).



                                          13
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 31 of 95 PageID #: 881




      Through this Adversary Proceeding, the Trustee seeks to enforce and collect

the $132 million Judgment the Bankruptcy Court entered in the Yucaipa Adversary

Proceedings. Compl. ¶ 1. The Bankruptcy Court held that it had core jurisdiction

over the claims in the Estate Action supporting that Judgment. See 2021 Summary

Judgment Decision at 6; Judgment at 4-5. Indeed, Yucaipa admitted that those

claims were core. Trustee’s Response to Yucaipa’s Mot. for Stay at 2-6, Yucaipa

Adv. Pro., D.I. 855 (July 2, 2021). 10

      The Trustee’s fraudulent transfer claims seeking to enforce that prior

Judgment are therefore core claims as well. See FormTech, 439 B.R. at 357. That

these claims arise under state law is no answer. Yucaipa Br. 12. Under the

Bankruptcy Code, “[a] determination that a proceeding is not a core proceeding

shall not be made solely on the basis that its resolution may be affected by State

law.” 28 U.S.C. § 157(b)(3). Accordingly, “[t]he fact that a core proceeding

involves state law claims does not necessarily ‘alter the core nature of a

proceeding.’ ” In re Weiand Auto. Indus., 612 B.R. 824, 855-56 (Bankr. D. Del.


10
   The Trustee conceded that Lender Claim 2 — the breach of contract claim in the
Lender Action that overlaps with Estate Claim 5 — was a “non-core” claim.
Memorandum Opinion at 5, Dist. Ct. Case No. 21-cv-01060-CFC, D.I. 5 (D. Del.
July 11, 2022). This Court adopted the Bankruptcy Court’s proposed factual
findings and conclusions of law with respect to Lender Claim 2. Id. at 32. The
$132 million Judgment the Trustee seeks to enforce in this proceeding is fully
supported by the claims in the Estate Action. Compl. ¶ 2; Judgment at 4. Thus, the
non-core status of Lender Claim 2 does not undermine the core status of the claims
being enforced in this Adversary Proceeding.

                                         14
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 32 of 95 PageID #: 882




2020). The Trustee’s fraudulent transfer claims seek to enforce a prior judgment in

a core proceeding, so these are core claims too.

       B.    The Court Has “Related To” Jurisdiction

       Alternately, the Court has jurisdiction because this Adversary Proceeding is

“related to” Allied’s bankruptcy case.        Although the Trustee brought this

proceeding after Allied’s Plan had been confirmed, the proceeding still has a close

nexus to the Plan. The Plan specifically described the claims at issue and treated

them as important assets to be distributed to creditors. This proceeding thus

directly affects the Plan’s implementation.

             1.    This Proceeding Has a “Close Nexus” to the Bankruptcy Plan
                   and Proceeding
       Courts have “related to” jurisdiction over matters that “could conceivably

have any effect on the estate being administered in bankruptcy.” Pacor, Inc. v.

Higgins, 743 F.2d 984, 994 (3d Cir. 1984) (emphasis omitted). Once a plan has

been confirmed, the Third Circuit requires a claim to have a “close nexus to the

bankruptcy plan or proceeding” to support that jurisdiction. Resorts, 372 F.3d at

166.   “Matters that affect the interpretation, implementation, consummation,

execution, or administration of the confirmed plan will typically have the requisite

close nexus.” Id. at 167.

       Courts have repeatedly held that a bankruptcy plan’s description of specific

claims supports post-confirmation “related to” jurisdiction. See, e.g., In re BWI


                                         15
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 33 of 95 PageID #: 883




Liquidating Corp., 437 B.R. 160, 165 (Bankr. D. Del. 2010) (close nexus “may be

found where the plan specifically enumerates the cause of action”); In re

AstroPower Liquidating Tr., 335 B.R. 309, 324-25 (Bankr. D. Del. 2005); In re

LGI, Inc., 322 B.R. 95, 108 (Bankr. D.N.J. 2005). “[W]here, as here, the Plan

specifically describes an action over which the Court had ‘related to’ jurisdiction

pre-confirmation and expressly provides for the retention of such jurisdiction to

liquidate that claim for the benefit of the estate’s creditors, there is a sufficiently

close nexus with the bankruptcy proceeding.” AstroPower, 335 B.R. at 325.

      That standard is met here. The Yucaipa Adversary Proceedings were central

to the Plan. The Plan defined “Litigation Claims” as “Estate Claims and the

Lender Direct Claims” that correspond to the Estate and Lender Actions in the

Yucaipa Adversary Proceedings. Plan at 9. It defined “Estate Claims” as the

claims asserted in the “Amended Complaint” in the Estate Action and “any

additional claims of the Debtors’ Estates arising out of, or related to, the facts and

circumstances described in the Amended Complaint.” Id. at 3, 7 (emphasis added).

The Plan provided that the Trustee “shall be a representative of the Debtors’

Estates” and have power “to make all decisions with respect to the prosecution of

the Litigation Claims.” Id. § 5.10(b). The Bankruptcy Court retained “exclusive

jurisdiction” to “hear and determine any and all adversary proceedings, motions,

applications, and contested or litigated matters arising out of, under, or related to,


                                          16
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 34 of 95 PageID #: 884




the Litigation Claims” and to “enforce all orders, judgments . . . and rulings entered

in connection with the Chapter 11 Cases or provided for under the Plan.” Id.

§§ 9.1(e), (l ).

       This Adversary Proceeding falls squarely within that description. Although

the Plan obviously could not have described this yet-to-be-filed fraudulent

conveyance proceeding by name, it clearly provided that the Bankruptcy Court

would retain jurisdiction over any further claims “arising out of, or related to,” the

claims in Yucaipa Adversary Proceedings. Plan at 3, 7. Contrary to Yucaipa’s

suggestion that this proceeding “shares no common facts, circumstances, or causes

of action that are described in the Amended Complaint” in the Yucaipa Adversary

Proceedings, Yucaipa Br. 18, this fraudulent conveyance proceeding seeks to

enforce the Judgment based on the claims in that very complaint.

       To be clear, the Trustee does not contend that the Plan supports “related to”

jurisdiction merely because the parties conferred jurisdiction by agreement. The

point is that the Plan’s references to claims like these establish the requisite “close

nexus” because they show that the claims were valuable estate assets important to

the Plan’s implementation.          Litigation that is “critical to the Plan’s

implementation” would naturally be “more specifically described in the . . . Plan.”

AstroPower, 335 B.R. at 325. The specific description of the claims demonstrates

that they are an “important substantive element of the Plan to be prosecuted by the


                                          17
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 35 of 95 PageID #: 885




[Trustee].” LGI, 322 B.R. at 103; see also In re FAH Liquidating Corp., 567 B.R.

464, 470 (Bankr. D. Del. 2017) (“many” references in plan showed that dispute

was “inseparable from the Plan”).

      The Plan specifically described the claims in the Yucaipa Adversary

Proceedings — seeking recovery of hundreds of millions of dollars in pre-petition

losses — because those claims were critically important assets of Allied’s estate

and key to the Plan’s implementation. The Trustee pursued the claims in the

Yucaipa Adversary Proceedings, and now brings this Adversary Proceeding to

enforce the Judgment, for the benefit of all of Allied’s creditors who are the

express beneficiaries of the Litigation Trust.      See Plan at 10 (definition of

“Litigation Trust Beneficiaries”). The importance of the claims is self-evident.

Since the Effective Date, the Trustee has distributed only a de minimis fraction of

the creditors’ allowed claims. See Quarterly Distribution Report at 2, Del. Ch. 11,

D.I. 4225 (May 12, 2022). To date, the Trustee has not distributed a single cent in

connection with the $132 million Judgment at stake, which took over seven years

of hard-fought litigation against Yucaipa to secure. This Adversary Proceeding

seeks to collect a valuable asset that belongs to Allied’s estate and creditors and

thus has the requisite “close nexus” to the Plan.

      This proceeding also has the requisite “close nexus” because it is necessary

to preserve the integrity of the bankruptcy process. In Donaldson v. Bernstein, 104


                                         18
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 36 of 95 PageID #: 886




F.3d 547 (3d Cir. 1997), the Third Circuit recognized jurisdiction over state law

claims that “implicate[ ] the integrity of the bankruptcy process.” Id. at 553. The

court explained that “ ‘misconduct during the bankruptcy proceeding’ by the debtor

often compels the court to allow the fraud to be addressed.” Id.; see also Resorts,

372 F.3d at 165 (citing Donaldson with approval). The Supreme Court similarly

held in Travelers Indemnity Co. v. Bailey, 557 U.S. 137 (2009), that a

“[b]ankruptcy [c]ourt plainly ha[s] jurisdiction to . . . enforce its own prior orders.”

Id. at 151. Indeed, that is the “most basic and intrinsic authority of . . . any court.”

In re CD Liquidation Co., LLC, 462 B.R. 124, 136 (Bankr. D. Del. 2011); see also

Weiand, 612 B.R. at 856 (finding both “core” and “related to” jurisdiction because

“caselaw generally supports a bankruptcy court’s jurisdiction to . . . enforce its own

orders”).

      In In re British American Insurance Co. Ltd., 600 B.R. 890 (Bankr. S.D. Fla.

2019), for example, a party brought a supplemental proceeding in bankruptcy court

to recover assets fraudulently transferred to a defendant’s wife. Id. at 893. The

court held that, even though it did not have core jurisdiction, it had “related to”

jurisdiction over the fraudulent conveyance claim. Id. at 897.

      The same logic applies here. Yucaipa engaged in blatant efforts to avoid the

Bankruptcy Court’s impending judgment by transferring assets to investors,




                                          19
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 37 of 95 PageID #: 887




leaving itself unable to pay. Those actions imperil the integrity of the bankruptcy

process. This Court has “related to” jurisdiction to remedy that misconduct.

             2.    Defendants’ Contrary Arguments Lack Merit

      Yucaipa and the City Pension Defendants claim that Resorts forecloses

“related to” jurisdiction here. City Defs. Br. 12-13; Yucaipa Br. 9. But as they

admit, Resorts involved a malpractice claim by a litigation trustee against an

accounting firm for “post-confirmation work.” City Defs. Br. 12. That claim had

no connection to a judgment for the debtors’ pre-petition losses. Nor was there any

specific mention of the claim in the bankruptcy plan, which included only a

boilerplate “sweeping jurisdictional retention provision[ ].” 372 F.3d at 160. The

malpractice claim in Resorts was an “accidental happenstance” that arose out of

the post-confirmation operation of the trust. LGI, 322 B.R. at 103.

      Here, by contrast, the Trustee’s fraudulent transfer claims arise out of pre-

petition losses. The Plan specifically describes the claims. And there is no risk of

“unending jurisdiction” like there was in Resorts, 372 F.3d at 167. 11

      Defendants’ out-of-circuit cases are similarly irrelevant. In In re Heritage

Organization, LLC, 454 B.R. 353 (Bankr. N.D. Tex. 2011), for example, the court

11
   Allied’s Chapter 11 Plan was essentially a liquidation plan. See Joint Procedural
History at 3, Yucaipa Adv. Pro., D.I. 599 (July 25, 2019) (“substantially all of
Allied’s assets” sold in December 2013); LP Defs. Br. 2-3 (bankruptcy “resulted in
a liquidation that did not pay . . . secured claims in full” (emphasis added)). “[A]
liquidating debtor exists for the singular purpose of executing an order of the
bankruptcy court.” In re Venoco LLC, 998 F.3d 94, 108 (3d Cir. 2021).

                                         20
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 38 of 95 PageID #: 888




followed Fifth Circuit law and did not even mention the words “close nexus.” And

the plan in that case did not describe the claims being enforced — it contained only

broad jurisdiction-retention provisions. Id. at 359 (bankruptcy court “retained

jurisdiction to the fullest extent legally permitted”).     Delaware courts have

routinely relied on precisely this distinction where the plan specifically describes

litigation claims. See, e.g., In re EXDS, Inc., 352 B.R. 731, 736 (Bankr. D. Del.

2006) (“The language of the Plan [here] is clearly more descriptive than the

language used [in other cases].”); AstroPower, 335 B.R. at 325; see also EXDS,

352 B.R. at 736-37 (distinguishing In re Haws, 158 B.R. 965 (Bankr. S.D. Tex.

1993), another case the City Pension Defendants cite, based on “[t]he specificity of

the references to the claims” in the plan). There are other differences too. For

example, some of the fraudulent transfers in Heritage were made by a “stranger” to

the first proceeding. 454 B.R. at 366. Here, all the transfers were made by

Yucaipa, the judgment debtor in the Yucaipa Adversary Proceedings.12

      Defendants urge that parties cannot establish jurisdiction by consent. City

Defs. Br. 13; Yucaipa Br. 17-18. But that principle, while true, misses the mark.

As discussed, the Plan’s specific reference to the claims at issue matters not

12
  In re Transcolor Corp., Adv. No. 05-9103, 2007 WL 2916408 (Bankr. D. Md.
2007), involved a “prejudgment transfer that occurred nearly 25 years before the
federal judgment was rendered.” Id. at *18. And In re Import & Mini Car Parts,
Ltd., Inc., 200 B.R. 857 (Bankr. N.D. Ind. 1996), involved enforcement of a claim
assigned by a bankruptcy liquidation trustee to another trustee acting on behalf of
administrative creditors.

                                        21
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 39 of 95 PageID #: 889




because it creates jurisdiction out of whole cloth, but because it proves a “close

nexus” to the Plan. A plan that “specifically enumerate[s] the cause of action”

demonstrates a “close nexus” because it indicates the importance of the claims to

the bankruptcy case. BWI, 437 B.R. at 165; see also EXDS, 352 B.R. at 738

(“Specific reference to the Claims in the Plan shows that the debtor and the

creditors considered the Claims to be assets of the estate.”).

      Defendants insist that the Plan and Confirmation Order “expressly

disclaimed any connection between the Plan and any litigation involving Yucaipa

or its affiliates.” Yucaipa Br. 14; City Defs. Br. 7. They did no such thing.

Section 3.7(e) of the Plan merely provided that the Plan “shall have no effect on or

prejudice in any way Yucaipa[’s] . . . rights, claims or defenses.” And paragraph

54 of the Confirmation Order merely stated that nothing in the Plan or

Confirmation Order would be deemed to “provide the Bankruptcy Court with

jurisdiction over any Litigation Claims” or “limit or impair any named or unnamed

defendant’s right to contest the Bankruptcy Court’s jurisdiction.” City Defs. Br. 6-

7. That language merely reflects the point that jurisdiction cannot be established

by consent, while confirming that Yucaipa (and other defendants) retain the right

to challenge jurisdiction — a right they had in any event and are exercising now in

this case. Nowhere did the Plan or Confirmation Order “expressly disclaim[ ] any

connection” to the litigation against Yucaipa. City Defs. Br. 7; Yucaipa Br. 14.


                                          22
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 40 of 95 PageID #: 890




      Defendants further deny a “close nexus” on the ground that the estate

terminated years ago. City Defs. Br. 15; Yucaipa Br. 14. But the Third Circuit has

already made clear in Resorts that the termination of the estate does not “entirely

bar post-confirmation bankruptcy jurisdiction.” 372 F.3d at 165. Resorts noted

that “litigation trusts by their nature maintain a connection to the bankruptcy even

after the plan has been confirmed.” Id. at 167. “The question is how close a

connection warrants post-confirmation bankruptcy jurisdiction.”       Id. (emphasis

added). Resorts thus does not indicate that “post-confirmation jurisdiction over

cases brought by litigation trusts has become any less certain.” EXDS, 352 B.R. at

739. While the fact that claims are brought post-confirmation by a liquidating

trustee may be a reason to apply the “close nexus” standard in the first place,

Resorts, 372 F.3d at 166, it is not an additional thumb on the scale when applying

that standard. Defendants’ contrary position “would recharacterize the nature of

post-confirmation trust litigation so that every post-confirmation trust case would

fail the ‘close nexus’ test.” LGI, 322 B.R. at 104.

      Nor does the fact that the fraudulent conveyance claims were asserted six

years after confirmation defeat jurisdiction. Yucaipa Br. 2, 17 n.10. 13 The “close

nexus” test applies in “all disputes raised post-confirmation, regardless of when the


13
   Technically, the Debtors’ estates did not cease to exist until the Plan became
effective on December 20, 2016, nearly a year after confirmation. Plan § 8.3;
Notice of Effective Date at 1, Del. Chapter 11, D.I. 3744 (Dec. 21, 2016).

                                         23
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 41 of 95 PageID #: 891




conduct alleged in the complaint occurred.” In re Seven Fields Dev. Corp., 505

F.3d 237, 265 (3d Cir. 2007); BWI, 437 B.R. at 165 (“[T]he timing of the conduct

alleged in the complaint is not a factor to be considered in determining whether

there is a close nexus.”). In Travelers, the Supreme Court upheld a bankruptcy

court’s jurisdiction to enforce its own order more than twenty years after

confirmation. See 557 U.S. at 141 (order entered in December 1986).

      Finally, the recovery at stake here goes far beyond the “mere possibility of a

gain or loss.” Yucaipa Br. 16-17; see City Defs. Br. 12. Although “the potential to

increase assets of the [Trust] . . . does not necessarily create a close nexus,”

Resorts, 372 F.3d at 170 (emphasis added), it is sufficient here where the claims

were specifically enumerated in the Plan and would have a significant impact on

creditor recovery, see EXDS, 352 B.R. at 739. This Court thus has “related to”

jurisdiction over this proceeding.

      C.     The Court Has Supplemental and Ancillary Jurisdiction

      Wholly apart from core or non-core bankruptcy jurisdiction under § 1334,

this Court also has jurisdiction to enforce the Bankruptcy Court’s prior Judgment

under principles of supplemental and ancillary jurisdiction. “It is well established

that federal courts have ancillary jurisdiction to enforce their judgments.”

Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 932 F.3d 126, 136-37




                                        24
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 42 of 95 PageID #: 892




(3d Cir. 2019). That jurisdiction applies to a “broad range of supplementary

proceedings involving third parties.” Id.14

      In IFC Interconsult, AG v. Safeguard International Partners, LLC, 438 F.3d

298 (3d Cir. 2006), for example, the Third Circuit held that it had supplemental

jurisdiction over a garnishment action to enforce a judgment against a new

defendant. Even though the claims were “new actions” because there was “a new

party and a new theory for the party’s liability,” the claims were still “predicated

on a pre-existing judgment.” Id. at 314. The court reasoned that “there is an

essential difference between an action to enforce a judgment via garnishment and

an action to establish liability in the first place.” Id. That same logic applies to

fraudulent transfer actions against third parties to collect a prior judgment. See

Gambone v. Lite Rock Drywall, 288 F. App’x 9, 13 (3d Cir. 2008) (holding that

district court had ancillary jurisdiction over fraudulent conveyance claim in post-

judgment enforcement proceeding); Thomas, Head & Greisen Emps. Tr. v. Buster,

95 F.3d 1449, 1453 (9th Cir. 1996) (“There can be little question that federal courts

generally possess the power to protect their judgments by setting aside fraudulent

conveyances of the judgment debtor.”).



14
   The case law refers to both “supplemental” and “ancillary” jurisdiction, but
similar principles apply under either label. See IFC Interconsult, AG v. Safeguard
Int’l Partners, LLC, 438 F.3d 298, 309 (3d Cir. 2006) (“We do not see the relevant
inquiries for ancillary and supplemental jurisdiction as separate.”).

                                         25
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 43 of 95 PageID #: 893




      Here, the Trustee seeks only to collect a prior judgment, not to establish

liability in the first place. This Adversary Proceeding attempts to reach Yucaipa’s

assets found in the hands of the other Defendants.           Thus, the Court has

supplemental jurisdiction over the proceeding.

      Yucaipa argues that bankruptcy courts do not have the same supplemental

jurisdiction to enforce their judgments as district courts. Yucaipa Br. 19. Many

courts have disagreed. See Townsquare Media Inc. v. Brill, 652 F.3d 767, 771-72

(7th Cir. 2011) (summarizing conflicting cases); 1 Collier on Bankruptcy ¶ 3.02[8]

(16th ed. 2022); In re Wellington Apartment, LLC, 353 B.R. 465, 471-73 (Bankr.

E.D. Va. 2006).      The Third Circuit has stated that a bankruptcy court has

jurisdiction to “void any future fraudulent transfers” that “continued unabated in

the face of [its] order.” In re Truong, 285 F. App’x 837, 840 (3d Cir. 2008).

      In any event, the Court need not resolve that issue because the Adversary

Proceeding has now been withdrawn from the Bankruptcy Court and is pending

before this Court.     There is no dispute that district courts can exercise

supplemental and ancillary jurisdiction. That the Bankruptcy Court, not this Court,

originally entered the Judgment is immaterial. In Crystallex, the Third Circuit held

that an attachment action in Delaware to enforce an arbitration award was a

“continuation of ” an earlier D.C. District Court action to confirm the award. 932

F.3d at 132-134, 138. Because the D.C. District Court had jurisdiction, “the


                                        26
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 44 of 95 PageID #: 894




Delaware District Court and [the Third Circuit] also have jurisdiction.” Id. at 138.

The principle applies with even greater force here, where the Bankruptcy Court is a

mere component of this Court. 15

      Supplemental and ancillary jurisdiction thus provide a third and independent

basis for jurisdiction over this enforcement proceeding.

II.   THE COURT SHOULD NOT ABSTAIN
      Yucaipa and the City Pension Defendants urge that, even if the Court has

jurisdiction, it should abstain from exercising it. Yucaipa Br. 20-23; City Defs. Br.

16-20. But they ignore the Court’s “ ‘virtually unflagging obligation’ to exercise

its jurisdiction.” Nat’l City Mortg. Co. v. Stephen, 647 F.3d 78, 82 (3d Cir. 2011).

The City Pension Defendants — the only ones seeking mandatory abstention —

fail to satisfy the applicable standards. And neither set of Defendants justifies

permissive abstention, an extraordinary and narrow remedy that should be rarely

invoked in cases such as this. Abstention in this case would result in inefficient

piecemeal litigation across the country that would undermine rather than advance

judicial economy and delay distributions to Allied’s creditors.




15
   Yucaipa argues that the Bankruptcy Court “has already exercised its authority to
enforce the Judgment by permitting the domestication of the Judgment in
California.” Yucaipa Br. 20. That action does not somehow disable this Court
from further enforcing the Judgment by adjudicating the Trustee’s fraudulent
conveyance claims in this forum.

                                         27
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 45 of 95 PageID #: 895




      A.     The City Pension Defendants Do Not Establish the Requirements
             for Mandatory Abstention

      The City Pension Defendants fail to meet their burden of establishing the

requirements for mandatory abstention under 28 U.S.C. § 1334(c)(2). A district

court is required to abstain only if the movant satisfies five requirements:

      (1) the proceeding is based on a state law claim or cause of action;
      (2) the claim or cause of action is “related to” a case under title 11, but
      does not “arise under” title 11 and does not “arise in” a case under
      title 11; (3) federal courts would not have jurisdiction over the claim
      but for its relation to a bankruptcy case; (4) an action “is commenced”
      in a state forum of appropriate jurisdiction; and (5) the action can be
      “timely adjudicated” in a state forum of appropriate jurisdiction.
Stoe v. Flaherty, 436 F.3d 209, 213 (3d Cir. 2006).           As the parties seeking

mandatory abstention, the City Pension Defendants bear the burden of establishing

that all five requirements are met. Id. at 219 n.5 (party seeking abstention has “the

burden of proving his right to mandatory abstention”); In re Semcrude, L.P., 442

B.R. 258, 274 (Bankr. D. Del. 2010) (similar).

      In their three-paragraph discussion of mandatory abstention, the City

Pension Defendants do not even try to establish requirements (3) and (5). They

assert that the Trustee “does not realistically have an independent basis for federal

jurisdiction, as it relied on no federal laws.” City Defs. Br. 17. But they ignore

that diversity jurisdiction can separately support federal jurisdiction. See Collier,

supra, ¶ 3.05[2].   Where the parties seeking mandatory abstention “offer no

evidence that [they] lack the required diversity of citizenship,” they fail to meet


                                          28
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 46 of 95 PageID #: 896




“their burden with respect to mandatory abstention.” In re Today’s Destiny, Inc.,

Adv. No. 06-3285, 2009 WL 1232108, at *3 (Bankr. S.D. Tex. May 1, 2009); see

Oakwood Shopping Ctr., Ltd. P’ship v. Villa Enters. of Midwest, Inc., No. Civ. A.

10-2758, 2011 WL 3350402, at *4 (E.D. La. Aug. 3, 2011). 16

      The City Pension Defendants also fail to show that a state court can “timely

adjudicate” this action. Courts typically consider “(1) the backlog of the state

court’s calendar, (2) the status of the bankruptcy proceeding, (3) the complexity of

the issues presented, and (4) whether the state court proceeding would prolong the

administration of the estate.” In re Maxus Energy Corp., 597 B.R. 235, 246

(Bankr. D. Del. 2019). This requirement “is the most difficult to apply.” Collier,

supra, ¶ 3.05[2]. Yet the City Pension Defendants do not discuss it at all. Their

failure to address that requirement likewise justifies denying their request for

mandatory abstention.

      The City Pension Defendants could not satisfy this requirement even if they

tried. The California state court action is in its infancy. Shortly after the complaint

was filed on October 7, 2021, the parties stipulated to a stay of the action. See

Ordered Stipulation to Extend Deadline to Respond to Complaint, Youngman v.

Yucaipa, Case No. 21STCV37137 (Super. Ct. Cal. L.A. Cnty. Jan. 4, 2022)

16
   Having failed to allege, let alone demonstrate, lack of diversity, the City Pension
Defendants cannot do so in reply. See Alston v. Forsyth, 379 F. App’x 126, 129
(3d Cir. 2010) (vacating district court decision that relied on arguments raised for
first time in reply brief ).

                                          29
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 47 of 95 PageID #: 897




(stipulation executed and served on Nov. 30, 2021) (Zaiger Decl. Ex. 3). A state

court action still “at the starting line” cannot satisfy this requirement. Semcrude,

442 B.R. at 274; see also In re Sportsman’s Warehouse, Inc., 457 B.R. 372, 389-90

(Bankr. D. Del. 2011) (posture of action made it “unlikely” to be timely

adjudicated).

      The Trustee, moreover, filed the California action only as a protective

measure to preserve its rights under the statute of limitations in case this Court

declined to exercise jurisdiction.      See Ordered Fourth Stipulation to Extend

Deadline to Respond to Complaint at 4, Youngman v. Yucaipa, Case No.

21STCV37137 (Super. Ct. Cal. L.A. Cnty. June 24, 2022) (Zaiger Decl. Ex. 4)

(parties recognized that “certain rulings by the [Delaware] Court with respect to,

inter alia, its jurisdiction . . . may have significant impact on whether it is necessary

to continue to pursue the claims in this proceeding”). The action remains stayed

while this Court considers the Adversary Proceeding. Id. The California action

thus is not proceeding toward resolution at all, much less in a “timely” manner.

      Finally, the Court can and should consider the untimeliness and inefficiency

that would result from duplicative parallel proceedings. Even if the Court granted

the City Pension Defendants’ request for mandatory abstention, the actions against

Yucaipa and the LP Defendants would proceed in this Court, as neither of them

sought mandatory abstention. Semcrude, 442 B.R. at 274 (requiring timely motion


                                           30
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 48 of 95 PageID #: 898




for mandatory abstention). That prospect further undercuts any claim of timely

adjudication. See id. at 275-76 (denying mandatory abstention where it would

result in “duplicative motion practice and repetitious discovery” and there was “no

immediately apparent mechanism for the reliable consolidation and coordination of

[the] claims”). For that reason, too, the Court should reject the City Pension

Defendants’ request for mandatory abstention.

      B.     Permissive Abstention Is Inappropriate
      Yucaipa and the City Pension Defendants — but not the LP Defendants —

also seek permissive abstention under 28 U.S.C. § 1334(c)(1). City Defs. Br. 17-

20; Yucaipa Br. 20-23. But they ignore a federal court’s “ ‘virtually unflagging

obligation’ to exercise its jurisdiction.”    Nat’l City Mortg., 647 F.3d at 82.

Permissive abstention is an “extraordinary and narrow exception” when cases such

as this are properly brought before the court, and thus should be “rarely . . .

invoked.” In re Direct Response Media, Inc., 466 B.R. 626, 658 (Bankr. D. Del.

2012). Defendants assert that all twelve of the relevant factors favor abstention. In

fact, the vast majority weigh strongly against it. This is not one of the rare cases

where the Court should abstain.

      Factor 1: Effect on administration of the estate. Defendants urge that the

Debtors’ estates were terminated years ago. City Defs. Br. 18; Yucaipa Br. 22.

But mere confirmation of the Plan does not mean this factor favors abstention.



                                         31
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 49 of 95 PageID #: 899




This factor weighs against abstention where the proceeding has a “close nexus” to

a confirmed plan that assigned specific claims to a litigation trustee for the benefit

of creditors. AstroPower, 335 B.R. at 330. This proceeding has a close nexus to

the Plan, which assigned claims to the Trustee to collect an asset important to the

Plan’s implementation. This factor thus weighs against abstention.

      This factor also weighs against abstention due to the prospect of inefficient

piecemeal litigation. As in Maxus Energy, “[g]ranting the Motion would require

[at least] two separate courts to consider a similar set of operative facts concerning

related defendants and with respect to similar issues.” 597 B.R. at 247. “[J]udicial

economy would not be served by abstention” where “it would be inefficient to

have piecemeal litigation proceeding on parallel tracks.” Master-Halco, Inc. v.

D’Angelo, 351 B.R. 267, 272 (D. Conn. 2006); see also Rahl v. Bande, 316 B.R.

127, 136 (S.D.N.Y. 2004); In re Enron Corp. Sec., Deriv. & “ERISA” Litig., 314

B.R. 354, 359 (S.D. Tex. 2004).          As the LP Defendants have observed,

“[c]onsideration of the Adversary Proceeding by the District Court would

effectively consolidate all matters relating to Yucaipa before a single court.” LP

Defs. Mot. to Stay Br. 15, Bankr. Adv. Pro., D.I. 86 (June 1, 2022). Presumably

for that reason, the LP Defendants did not join in the Yucaipa and City Pension

Defendants’ request for abstention. LP Defs. Br. [D.I. 23] 61.




                                         32
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 50 of 95 PageID #: 900




      Factor 2:     Predominance of state-law issues.       Although the Trustee’s

complaint pleads only state-law claims, those claims are closely linked to Allied’s

bankruptcy and the Judgment obtained in connection with the Plan. This factor

thus is insufficient to justify abstention.

      Factor 3:     Unsettled nature of state-law issues.    Yucaipa and the City

Pension Defendants argue that “[r]esolution of the fraudulent transfer claims would

require a fact-intensive inquiry.” City Defs. Br. 18; see Yucaipa Br. 22. But this

factor focuses on unsettled legal questions, not factual disputes. See Schall v.

Joyce, 885 F.2d 101, 113 (3d Cir. 1989) (abstention not appropriate where

uncertainty “concerns factual rather than legal questions”).         Abstention is

appropriate only “when novel or unsettled issues of state law are involved.” In re

LaRoche Indus., 312 B.R. 249, 254 (Bankr. D. Del. 2004) (emphasis added); see

also In re Pan Am. Corp., 950 F.2d 839, 846 (2d Cir. 1991). Even if the facts “are

complex,” fraudulent transfer claims “are generally not unsettled or unfamiliar” as

a legal matter. Maxus Energy, 597 B.R. at 248.

      Factor 4: Presence of related proceedings in state court. Although the

Trustee filed protective actions in other state courts, they have been stayed while

the Adversary Proceeding is before this Court. This factor thus “weighs against

abstention” because abstaining would send defendants to different state courts and




                                              33
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 51 of 95 PageID #: 901




“would neither conserve judicial resources nor avoid the possibility of inconsistent

rulings.” Maxus Energy, 597 B.R. at 248.

      Factor 5: Independent basis for federal jurisdiction. Once again, neither the

City Pension Defendants nor Yucaipa analyze whether diversity jurisdiction exists.

Yucaipa merely asserts that “federal diversity jurisdiction is lacking with respect to

a number of the Defendants” without analysis. Yucaipa Br. 22. Defendants thus

fail to carry their burden on this factor.

      Factor 6: Relatedness to bankruptcy case. As shown above, this proceeding

has a “close nexus” to Allied’s bankruptcy. It will have a major impact on creditor

distributions and represents the last major remaining source of recovery for

Allied’s creditors. This factor thus cuts sharply against abstention. See Maxus

Energy, 597 B.R. at 249 (factor “strongly” weighs against abstention where

adjudication “may determine the population of nearly the entire res”).

      Factor 7: Core/non-core status of claims. The claims in the Adversary

Proceeding are core bankruptcy claims as they relate to the Judgment rendered in

another core proceeding. See pp. 13-15, supra.

      Factor 8: Feasibility of severing state-law claims. Even if the Court could

technically sever the state law claims against certain Defendants, doing so would

produce inefficient piecemeal litigation.         This factor thus weighs against

abstention. See In re Valley Media, Inc., 289 B.R. 27, 31-32 (Bankr. D. Del. 2003)


                                             34
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 52 of 95 PageID #: 902




(“[W]hile it is feasible to sever that state law claim, it is unadvisable as it would

create judicial inefficiency.”).

      Factor 9: Burden on court’s docket. The claims against the LP Defendants

would remain in this Court even if the Court abstained from the claims against the

City Pension Defendants and Yucaipa. The additional burdens from denying

abstention would thus be negligible. This Court, moreover, “is already familiar

with much of the case’s background.” Maxus Energy, 597 B.R. at 249. This factor

thus weighs strongly against abstention too.

      Factor 10: Likelihood of forum shopping. Yucaipa and the City Pension

Defendants accuse the Trustee of “forum shopping” by filing its fraudulent

conveyance claims in the same court that awarded it a “large judgment.” City

Defs. Br. 20; Yucaipa Br. 23. But this case is now before this Court, not the

Bankruptcy Court. D.I. 19. In any event, bringing claims before the court “in

which the main [bankruptcy] case [was pending] and pursuant to a [plan] that

expressly contemplated as much can hardly be considered forum shopping.”

AstroPower, 335 B.R. at 332; see also In re DBSI, Inc., 409 B.R. 720, 730 (Bankr.

D. Del. 2009) (no forum shopping where “[t]his Court was the situs for the

underlying bankruptcy case”).

      Defendants assert that, by filing a protective action in California, the Trustee

“effectively acknowledged that she is forum shopping.” City Defs. Br. 20; see


                                         35
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 53 of 95 PageID #: 903




Yucaipa Br. 23. That argument makes no sense. The Trustee filed the California

action only as a protective measure in case this Court declines jurisdiction. If the

action proceeds here, the Trustee will not proceed with that action.

       Factor 11: Right to jury trial. Defendants’ asserted right to trial by jury will

not be compromised in federal court. This Court is “suited as well as the [state]

court to conduct . . . a jury trial.” Hopkins v. Plant Insulation Co., 342 B.R. 703,

715 (D. Del. 2006).

       Factor 12:     Presence of non-debtor parties. This factor weighs against

abstention too. “[T]he twelfth factor does not favor abstention” where the “estate’s

creditors are the real parties in interest in th[e] dispute.” AstroPower, 335 B.R. at

332. Even where the parties are non-debtors, this factor weighs against abstention

where the dispute “maintain[s] a connection to the bankruptcy even after the plan

has been confirmed.” FAH, 567 B.R. at 472.

       Numerous factors thus weigh against abstention.               This is not an

extraordinary case in which the Court should decline jurisdiction.

III.   THE TRUSTEE’S CLAIMS ARE ADEQUATELY PLED
       The LP Defendants argue that the Trustee has not sufficiently alleged the

fraudulent transfers at issue in this case. LP Defs. Br. 21-27. That argument fails.

Contrary to the LP Defendants’ arguments, the Trustee’s actual fraudulent transfer

claim is subject to a relaxed pleading standard. Even if that were not the case and



                                          36
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 54 of 95 PageID #: 904




Federal Rule of Civil Procedure 9(b) applied, the Trustee’s allegations plainly meet

that standard. Further, the LP Defendants do not and cannot contest that the

Trustee’s constructive fraudulent transfer claim is subject only to Rule 8 notice

pleading standards.    The Complaint easily passes muster under that minimal

standard. Additionally, the Trustee’s claims to recover fraudulent transfers made

in 2017, as well as her claim seeking a declaratory judgment against Yucaipa’s

General Partner, are not time-barred.

      A.     The Complaint Adequately Alleges Actual Fraudulent Transfers
             1.     The Trustee’s Claim Is Subject to a Relaxed Standard

      The LP Defendants argue that the Trustee’s actual fraudulent transfer claim

is subject to the enhanced pleading requirements of Rule 9(b). LP Defs. Br. 22-23.

But courts have long recognized that “[t]he requirements of Rule 9(b) are relaxed

and interpreted liberally where a trustee or a trust formed for the benefit of

creditors . . . is asserting the fraudulent transfer claims.” In re Charys Holding Co.,

Inc., No. 08-10289, 2010 WL 2774852, at *3 (Bankr. D. Del. July 14, 2010); see

also In re Liquid Holdings Grp., Inc., No. 16-10202, 2019 WL 3380820, at *1

(Bankr. D. Del. July 25, 2019); In re APF Co., 308 B.R. 183, 188 (Bankr. D. Del.

2004). The LP Defendants urge that the Trustee has had the benefit of discovery

from the Adversary Proceedings. LP Defs. Br. 22-23. But that is not a valid basis

for refusing to apply the relaxed standard.



                                          37
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 55 of 95 PageID #: 905




      The LP Defendants do not cite a single case where the court declined to

apply a relaxed pleading standard merely because the trustee had the benefit of

discovery.   To the contrary, the LP Defendants’ own cases refute any such

exception. In In re SRC Liquidation LLC, 581 B.R. 78 (D. Del. 2017), aff’d, 765

F. App’x 726 (3d Cir. 2019), the court acknowledged that the trustee was a

“successor, effectively, to a Committee that had all the benefits of Discovery Rule

2004” and had “all of the financial records of the company or had access to much

more than [the court] would see in a Chapter 7 case.” Id. at 87. Nevertheless, the

court held that “[i]t is a well settled proposition that a Bankruptcy Trustee,

typically, receives more deference at the Rule 12 stage” and did not apply a

heightened pleading standard. Id.

      In any case, the Trustee has received far from complete discovery on

Yucaipa’s fraudulent transfers. To date, only Yucaipa has provided discovery, not

any of the other Defendants. Zaiger Decl. ¶ 4. And until recently, that discovery

did not include any information about transfers to non-Yucaipa investors. Id. ¶¶ 2-

3 & Exs. 1, 2.

      Even aside from the Trustee’s status, courts routinely relax applicable

pleading standards where “the defendant is alleged to have concealed the facts that

would permit the plaintiff to plead fraud with particularity.” 5A Charles A. Wright

et al., Federal Practice and Procedure §1298 (rev. 2022). In JPMorgan Chase


                                        38
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 56 of 95 PageID #: 906




Bank, N.A. v. Ballard, 213 A.3d 1211 (Del. Ch. 2019), for example, the plaintiff

alleged the fraudulent transfer of “$134 million in unlawful shareholder dividends,

of which $117,148,242.07 were paid from 2006 through May 2011.” Id. at 1245.

Applying the state counterpart of Rule 9(b), the court held that this allegation was

sufficient because “defendants obstructed J.P. Morgan from obtaining discovery

concerning the details of the dividends paid during the period.” Id.; see also

Ramirez v. STi Prepaid LLC, 644 F. Supp. 2d 496, 502 (D.N.J. 2009) (“Because

certain aspects of an alleged fraud may have been concealed by a defendant, courts

apply Rule 9(b) ‘with some flexibility.’ ”).

      The same principle applies here.         Yucaipa has strenuously resisted the

Trustee’s efforts to obtain discovery relevant to its fraudulent transfer claims. The

Trustee has pled all the details she can based on the limited information obtained.

Under those circumstances, the Court should “apply 9(b) ‘with some flexibility.’ ”

Ramirez, 644 F. Supp. at 502.

             2.     The Trustee’s Claim Satisfies Ordinary Rule 9(b) Standards

      In any case, the Trustee’s actual fraudulent transfer claim is properly pled

even under ordinary Rule 9(b) standards. To satisfy Rule 9(b), a plaintiff “must

plead or allege the date, time and place of the alleged fraud or otherwise inject

precision or some measure of substantiation into a fraud allegation.” Frederico v.

Home Depot, 507 F.3d 188, 200 (3d Cir. 2007). “Fraudulent intent, which may be



                                          39
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 57 of 95 PageID #: 907




pled generally, has historically been shown using badges of fraud.” In re United

Tax Grp., LLC, No. 14-10486, 2018 WL 1135496, at *8 (Bankr. D. Del. Feb. 28,

2018).   The UFTA contains a non-exclusive list of eleven badges, including

whether (1) the transfer was made to an insider; (2) the transfer was concealed;

(3) the transfer comprised substantially all of the debtor’s assets; (4) the transfer

was made after the debtor had been sued; (5) the debtor received reasonably

equivalent value in exchange for the transfer; and (6) the debtor was insolvent at

the time of the transfer or rendered insolvent by it. 6 Del. C. § 1304(b). “The

presence or absence of any single badge of fraud is not conclusive.”           In re

PennySaver USA Publ’g, LLC, 602 B.R. 256, 271 (Bankr. D. Del. 2019).

      The Trustee’s allegations satisfy that standard. First, as to the “date, place,

or time” requirement, the Trustee alleged those details for each of the more than

100 transfers Yucaipa made.       Compl. ¶¶ 131-138.     The Trustee alleged that

Yucaipa made those transfers to avoid potentially hundreds of millions of dollars

in judgments it faced in the Yucaipa Adversary Proceedings. Id. ¶¶ 97-103, 140.

Those transfers are also marked by several well-pled badges of fraud.

      First, numerous transfers amounting to over $18 million were made to

Yucaipa insiders. 6 Del. C. § 1304(b)(1); Compl. ¶¶ 104, 133(i)-(ii), 134(xvii),

137(xii)-(xiii), 138(xvii).   Those transfers benefited Yucaipa’s founder and

principal, Ron Burkle, at the Trustee’s expense. Compl. ¶ 104 & n.11.


                                         40
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 58 of 95 PageID #: 908




      Second, all the transfers were made while the Yucaipa Adversary

Proceedings were pending, and after Yucaipa had suffered a series of adverse

decisions, including critical rulings that it had breached the FLCA by attempting to

usurp the Requisite Lender role and that the Third Amendment to the FLCA,

including its capital contribution requirements, was valid and binding. 6 Del. C.

§ 1304(b)(4); Compl. ¶¶ 97-103 (identifying adverse rulings starting in August

2013); Compl. ¶¶ 131-138 (identifying transfers from October 2017 to May

2019). 17 Yucaipa had not received a single substantive decision in its favor when it

made any of the transfers at issue. Id. ¶ 101.

      Third, Yucaipa did not receive any, let alone reasonably equivalent, value

for the transfers. 6 Del. C. § 1304(b)(8). The transfers were pure distributions;

none of the recipients provided any money or services in exchange.

      Fourth, Yucaipa concealed the transfers from the Trustee.           6 Del. C.

§ 1304(b)(3). The Trustee received no contemporaneous notice of any of the

transfers. And for years, Yucaipa has vigorously opposed the Trustee’s efforts to

obtain discovery about them. Compl. ¶¶ 108-120. Yucaipa only began to produce

meaningful information after the Bankruptcy Court ordered it to do so. Id. ¶ 120.

17
   Indeed, Judge Sontchi observed that a layperson could readily ascertain the
damages stemming from Yucaipa’s breach of its contribution commitments. Feb.
4, 2021 Hr’g Tr. at 84:17-23, Yucaipa Adv. Pro., D.I. 818 (“[I]t’s unclear to me
why you would need an expert to calculate damages on this [breach of contract]
claim. Experts are only necessary . . . when they help the Court figure out
something it can’t figure out. I know how to calculate damages.”).

                                          41
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 59 of 95 PageID #: 909




       Fifth, the transfers rendered Yucaipa insolvent. 6 Del. C. § 1304(b)(9).

“[I]nsolvency is generally a factual determination not appropriate for resolution in

a motion to dismiss.” In re SportCo Holdings, Inc., No. 19-11299, 2021 WL

4823513, at *15 n.147 (Bankr. D. Del. Oct. 14, 2021). A plaintiff can thus plead

insolvency without providing specific financial information. See id. at *15 (“[A]

close analysis of insolvency is not necessary at the motion to dismiss stage.”); In re

Amcad Holdings, LLC, 579 B.R. 33, 40 (Bankr. D. Del. 2017) (similar); In re

Green Field Energy Servs., Inc., No. 13-12783, 2015 WL 5146161, at *7 (Bankr.

D. Del. Aug. 31, 2015) (“detailed valuation analysis” not necessary).

       Sixth, the transfers comprised substantially all of Yucaipa’s assets. 6 Del. C.

§ 1304(b)(5). Yucaipa has admitted that it no longer has assets necessary to satisfy

the Judgment. Compl. ¶ 2. Yucaipa thus appears to have succeeded in ridding

itself of substantially all of its assets.

       Seventh, Yucaipa’s partnership agreements did not require or even permit

Yucaipa to make the transfers. Those agreements permitted Yucaipa to distribute

only “Available Assets” to its partners and required a good faith and reasonable

reserve to be held for “the Partnership’s expenses, liabilities, and other obligations

(whether fixed or contingent).”          Compl. ¶¶ 52-53, 105.   Given the massive

liabilities Yucaipa faced in the ongoing proceedings, Yucaipa’s transfers did not

meet that standard. The logical inference is that Yucaipa was attempting to leave


                                             42
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 60 of 95 PageID #: 910




itself judgment-proof and run out the clock on any statute of limitations before the

transfers could be discovered.

       Those badges of fraud are more than sufficient to raise an inference of

Yucaipa’s fraudulent intent. See Green Field, 2015 WL 5146161, at *7 (“Four

badges of fraud is certainly enough for an actual fraudulent transfer claim to

survive a Rule 12(b)(6) motion.”); In re Appleseed’s Intermediate Holdings, LLC,

470 B.R. 289, 300 (D. Del. 2012) (same); Charys, 2010 WL 2774852, at *5

(same); In re DBSI, Inc., 445 B.R. 344, 349 (Bankr. D. Del. 2011) (three badges

sufficient).

       The LP Defendants seriously challenge only two of those badges. LP Defs.

Br. 23-24. As to concealment, they argue that the transfers could not have been

concealed because the Trustee learned about them from public filings. But what

matters is whether Yucaipa concealed the transfers at the time they were made.

See In re Vaso Active Pharms., Inc., No. 10-10855, 2012 WL 4793241, at *13

(Bankr. D. Del. Oct. 9, 2012) (examining concealment at time of transfers). The

Trustee learned that transfers had been made only after the fact, from one

investor’s public reporting in late 2019.     Motion for 2004 Examination, Del.

Chapter 11, D.I. 4086 ¶¶ 1, 12 (July 31, 2020). That information disclosed nothing

about the distributions to other Yucaipa investors or the timing of the distributions.

Yucaipa belatedly disclosed that it had been regularly dissipating its assets only


                                         43
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 61 of 95 PageID #: 911




after the Trustee confronted its counsel, and it steadfastly refused to disclose

details prior to a court order by maintaining that the details were somehow the

“secret sauce of the fund.” Compl. ¶¶ 1, 13, 118.

      As to Yucaipa’s insolvency, the Trustee has properly alleged that badge of

fraud for the reasons above. See pp. 40-43, supra. In any event, insolvency is not

a required element of an actual fraudulent transfer claim. The Trustee alleges more

than enough badges of fraud. 18

      B.    The Complaint Adequately Alleges Constructive
            Fraudulent Transfers
      The Trustee’s constructive fraudulent transfer claim, by contrast, is not

subject to the heightened pleading requirements of Rule 9(b). See In re Glencoe

Acquisition, Inc., No. 12-12071, 2015 WL 3777972, at *2 (Bankr. D. Del. June 16,

2015) (“Constructive fraudulent transfer claims are not evaluated . . . under

heightened pleading standard of [Rule] 9(b).”); In re Centaur, LLC, No. 10-10799,

2013 WL 4479074, at *3 (Bankr. D. Del. Aug. 19, 2013) (similar). The Trustee

need only generally allege that the debtor “[i]ntended to incur, or believed or

reasonably should have believed that [it] would incur, debts beyond [its] ability to



18
   The LP Defendants’ self-serving characterization of the documents Yucaipa
produced is irrelevant. LP Defs. Br. 24. Those documents are not presently before
the Court. See Resnik v. Woertz, 774 F. Supp. 2d 614, 621 n.1 (D. Del. 2011)
(“Generally, on a motion to dismiss pursuant to Rule 12(b)(6), a court may not
consider material outside of the pleadings.”).

                                        44
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 62 of 95 PageID #: 912




pay as they became due,” and that it received no reasonably equivalent value in

exchange. 6 Del. C. § 1304(a)(2)(b).

      It is undisputed that Yucaipa received no reasonably equivalent value in

exchange for the distributions it made to investors. And those transfers clearly left

Yucaipa unable to satisfy the debts it reasonably should have foreseen from the

pending Yucaipa Adversary Proceedings and the string of adverse decisions

rendered.

      Delaware cases recognize that a pending lawsuit can bear on whether a

debtor “reasonably should have believed” it would be unable to pay debts as they

came due. In Seiden v. Kaneko, No. CV 9861-VCN, 2015 WL 7289338 (Del. Ch.

Nov. 3, 2015), for example, the Court of Chancery refused to dismiss a fraudulent

transfer claim where the “Defendant’s transfer of his real property . . . shield[ed]

[his] assets from a potential judgment arising from this litigation.” Id. at *13. The

court held that it could “infer reasonably that [the debtor] had a ‘reasonable belief ’

when transferring the Private Placement Proceeds that he would incur future debts

such as a potential judgment in this action” that were beyond his ability to pay. Id.

      Similarly, in In re Millennium Lab Holdings II, LLC, No. 15-12284, 2019

WL 1005657 (Bankr. D. Del. Feb. 28, 2019), the trustee alleged that the defendants

made transfers while they were “in a position to know, and did know, that [the

debtor’s] operations were the subject of investigations by the Department of



                                          45
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 63 of 95 PageID #: 913




Justice” and that the debtor “had been sued under applicable qui tam statutes by

several relators, and separately by a competitor alleging improper billing

practices.”      Id. at *2.    The defendants contested only the adequacy of

consideration.     But the court cited the allegation that the transaction left the

company “unable to satisfy the claims asserted against it by the government and

others and to pay the obligations incurred in the 2014 Transaction.” Id. at *4.

      This case is no different. Each of the four transfers occurred when Yucaipa

at least “reasonably should have believed” that it would incur substantial debts in

the Yucaipa Adversary Proceedings. Compl. ¶¶ 97-105, 144. By no later than

March 2017, months before the first transfer, Yucaipa knew it had breached the

FLCA by failing to make significant capital contributions. Id. ¶¶ 97-98. Yucaipa’s

crossclaims and counterclaims had been dismissed. Id. ¶ 99. So too its longshot

RICO claims and several affirmative defenses in the Lender Action. Id. ¶¶ 99-100.

Indeed, Yucaipa had not received a single substantive decision in its favor in either

the Yucaipa Adversary Proceedings or the Allied Adversary Proceeding. Id. ¶ 101.

      The liability Yucaipa faced in those proceedings dwarfed whatever assets it

retained following the transfers.     The Yucaipa Adversary Proceedings sought

hundreds of millions of dollars in damages. Compl. ¶¶ 4, 96, 103. Yucaipa faced

liability not only for breaching the FLCA, but also for earlier fraudulent transfers,

breaches of fiduciary duty, and equitable subordination. Id. ¶¶ 96, 127. Despite


                                         46
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 64 of 95 PageID #: 914




those looming debts, Yucaipa distributed hundreds of millions of dollars to its

partners. Id. ¶¶ 131-138. Yucaipa has since admitted that it now lacks the assets

necessary to satisfy the Judgment. Id. ¶ 2.

      Yucaipa’s struggles were not limited to those proceedings themselves.

Yucaipa was also struggling to secure insurance coverage for those proceedings

and related actions. Compl. ¶ 102. Those struggles put Yucaipa at risk for both the

massive expenses of litigating the cases — which “far exceeded” $20 million even

as of February 2017 — and the hundreds of millions of dollars in damages it faced.

Id. ¶¶ 102-103.

      In short, long before Yucaipa made any of the transfers, it knew or

reasonably should have believed that it faced substantial liability from the

proceedings. Yucaipa’s transfers left it unable to pay that foreseeable liability.

The Trustee’s constructive fraudulent conveyance claim should proceed.

      C.     The 2017 Distribution Claims Are Not Time-Barred
      Defendants argue that the Trustee’s claims for the earliest fraudulent

transfers — those from October 2017 — are time-barred.          LP Defs. Br. 33;

Yucaipa Br. 29; City Defs. Br. 21. But the Trustee filed its Complaint on October

6, 2021, within the four-year limitations period in Delaware’s Uniform Fraudulent

Transfer Act.     6 Del. C. § 17-607(c); Compl. ¶ 131.    Defendants nonetheless




                                         47
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 65 of 95 PageID #: 915




contend that the three-year deadline in the Revised Uniform Limited Partnership

Act governs. 6 Del. C. § 17-607(c). That argument misreads the statute.

      When interpreting a statute, “[w]ords and phrases shall be read with their

context.” 1 Del. C. § 303. “[E]ach section of [a statute] should be read in light of

all others in the enactment.” Del. Bay Surgical Servs., P.C. v. Swier, 900 A.2d

646, 652 (Del. 2006). Here, Section 17-607(c) provides that “a limited partner

who receives a distribution from a limited partnership shall have no liability under

this chapter or other applicable law for the amount of the distribution after the

expiration of 3 years from the date of the distribution.” 6 Del. C. § 17-607(c). The

provision’s context makes clear that the provision concerns only claims involving

partners and the partnership, not third parties. Subsection (a) defines when a

limited partnership’s distribution to partners is improper. Subsection (b) explains

when a limited partner will be liable “to the limited partnership” for the

distribution.   Keeping with that context, subsection (c) imposes a three-year

deadline on a limited partner’s liability to the partnership for a distribution.

      That construction finds further support in how courts interpret the analogous

provision in Delaware’s Limited Liability Company Act (“LLC Act”), 6 Del. C.

§ 18-607(c). Section 18-607 of the LLC Act specifies when an LLC’s distribution

to members is improper. In light of that context, courts have interpreted the three-

year limitations period in Section 18-607(c) to apply only to claims by the LLC,


                                          48
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 66 of 95 PageID #: 916




not third parties. See In re Bos. Generating LLC, 617 B.R. 442, 467 (S.D.N.Y.

2020) (provision “modifies the liability of LLC members to the LLC ”); A

Commc’ns Co. v. Bonutti, 55 F. Supp. 3d 1119, 1126-27 (S.D. Ill. 2014) (provision

does not “address all possible causes of action against a member of the limited

liability company”); Lyman Com. Sols., Inc. v. Lung, No. 12-cv-4398, 2015 WL

1808693, at *5-6 (S.D.N.Y. Apr. 20, 2015) (interpreting similar New York

provision not to apply to third-party claims); cf. Pepsi-Cola Bottling Co. of

Salisbury, Md. v. Handy, No. 1973-S, 2000 WL 364199, at *5 (Del. Ch. Mar. 15,

2000) (provision applies only to “corporate cause[s] of action”).

      Section 17-607 of Revised Uniform Limited Partnership Act mirrors section

18-607 of the LLC Act.       The two provisions should therefore be interpreted

consistently. See Deane v. Maginn, No. 17-cv-346, 2022 WL 624415, at *6 (Del.

Ch. Mar. 2, 2022) (courts interpret LLC Act by “looking to ‘cases interpreting

similar Delaware statutes concerning corporations and partnerships’ ”). Section

17-607(c) should therefore be construed not to apply to claims by third parties.

      D.     The Declaratory Judgment Claim Is Not Time-Barred

      Count III seeks a declaration that Yucaipa’s General Partner is jointly and

severally liable for the Judgment and any subsequent judgments in the Adversary

Proceeding. Yucaipa argues that this claim is time-barred because it accrued when

Yucaipa originally made the fraudulent transfers. Yucaipa Br. 24-25. That is



                                         49
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 67 of 95 PageID #: 917




incorrect.   The claim did not accrue until the Bankruptcy Court entered the

Judgment that is the basis for the claim.

      “Delaware is an ‘occurrence rule’ jurisdiction, meaning a cause of action

accrues ‘at the time of the wrongful act, even if the plaintiff is ignorant of the cause

of action.’ ” ISN Software Corp. v. Richards, Layton & Finger, P.A., 226 A.3d

727, 732 (Del. 2020). The “wrongful act” that forms the basis for the declaratory

judgment claim is the General Partner’s refusal to honor its statutory responsibility

for Yucaipa’s liability on the Judgment. That act occurred only once the Judgment

was entered, not when the claims giving rise to the Judgment accrued.

      It is blackletter law that a general partner is liable for the debts of a limited

partnership. 6 Del. C. § 17-403(b); 6 Del. C. § 15-306(a). It is irrelevant whether

the general partner was involved in the conduct giving rise to the partnership’s

liability. See, e.g., Sandvik AB v. Advent Int’l Corp., 83 F. Supp. 2d 442, 448 (D.

Del. 1999) (permitting claim for breach of contract against general partner that was

not a signatory to the contract), aff’d, 220 F.3d 99 (3d Cir. 2000). Count III is

essentially a claim to enforce the Judgment. That claim did not arise until the

Judgment was entered.

      Kingsbury v. Westlake Management Co., 674 F. App’x 792 (10th Cir. 2016),

is squarely on point.     In that case, the plaintiff successfully sued a limited

partnership nursing home for negligence. Id. at 794. The plaintiff then brought a


                                            50
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 68 of 95 PageID #: 918




separate action to hold the general partner liable for the judgment. Id. The

defendant argued that the statute of limitations on the underlying negligence claim

had expired. Id. The Tenth Circuit rejected that argument, concluding that the

plaintiff ’s claim seeking to hold the general partner liable under applicable

partnership law was distinct from the underlying negligence claims and did not

accrue until the judgment was entered. Id. at 795-96. 19

      Other courts have reached similar conclusion. See Am. Star Energy & Mins.

Corp. v. Stowers, 457 S.W.3d 427 (Tex. 2015) (judgment creditor’s cause of action

against partners to satisfy judgment against partnership accrued only when final

judgment was entered against partnership); Evanston Ins. Co. v. Dillard Dep’t

Stores, Inc., 602 F.3d 610, 617 (5th Cir. 2010) (same); Am. Imaging of Jersey City,

Inc. v. Baldonado, No. A-0788-11T2, 2013 WL 3762638, at *6 (N.J. Super. Ct.

App. Div. July 19, 2013) (similar).

      Like the plaintiffs’ claims in those cases, the Trustee’s claim against

Yucaipa’s General Partner is essentially a judgment enforcement claim under

19
   The Tenth Circuit explained why two of the Yucaipa’s primary authorities are
inapposite. Valley National Bank of Arizona v. A.E. Rouse & Co., 121 F.3d 1332
(9th Cir. 1997), addressed a dissimilar statute and did “not speak to the issue of
when the statute of limitations to collect a partnership debt against a partner
commences.” Kingsbury, 674 F. App’x at 797. Similarly, Sunseri v. Proctor, 487
F. Supp. 2d 905 (E.D. Mich. 2007), did not interpret any comparable partnership
law. Kingsbury, 674 F. App’x at 797. Delaware law, by contrast, is materially
identical to the Oklahoma law Kingsbury relied on. Compare Okla. Stat. tit. 54,
§ 1-306(a) with 6 Del. C. § 15-306(a) and Okla. Stat. tit. 54, § 1-307(b)-(d) with 6
Del. C. § 15-307(b)-(d).

                                         51
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 69 of 95 PageID #: 919




Delaware partnership law. It is not a claim for the underlying conduct that led to

the Judgment. The Trustee’s claim therefore did not accrue until the Bankruptcy

Court entered the Judgment. Because this action was filed mere months later, the

claim is timely.

IV.   THE DEFENDANT-SPECIFIC ARGUMENTS LACK MERIT

      Certain subgroups of Defendants challenge the Trustee’s claims against

them on a variety of grounds. Those arguments all fail.

      A.     The Foreign LPs Are Subject to Personal Jurisdiction
      The LPs based in foreign countries argue that they are not subject to

personal jurisdiction because, in their view, they lack sufficient contacts with the

United States related to the Trustee’s claims. LP Defs. Br. 35-45. But the Foreign

LPs purposefully availed themselves of U.S. law in connection with receiving

fraudulent transfers from the U.S.-based partnership that they chose to join. That

is sufficient to subject them to personal jurisdiction.

      In a case like this where nationwide service of process is permitted, the

Court evaluates personal jurisdiction under the Fifth Amendment’s Due Process

Clause. See Laurel Gardens, LLC v. Mckenna, 948 F.3d 105, 122 (3d Cir. 2020).

First, the Court examines whether the defendants have sufficient contacts with the

United States as a whole. Id. Second, the Court determines whether its exercise of




                                          52
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 70 of 95 PageID #: 920




jurisdiction would comport with “traditional notions of fair play and substantial

justice.” Id. Both requirements are met here.

             1.    The Foreign LPs Have Sufficient Minimum Contacts

      A defendant’s contacts with the forum are sufficient where the defendant

“purposefully avail[ed] itself of the privilege of conducting activities” in the

forum, such that it should “reasonably anticipate being haled into court there.”

World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980).                   A

defendant can meet that standard by “entering a contractual relationship centered”

in the forum. Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1025

(2021).   The plaintiff ’s claim must “arise out of or relate to the defendant’s

contacts.” Id. But the plaintiff need not prove any causal relationship. Id. at 1026.

      Applying those principles, courts have repeatedly held that an investor in a

partnership in the forum may be subject to jurisdiction for claims arising out of that

relationship. In In re Dewey & LeBouef LLP, 522 B.R. 464 (Bankr. S.D.N.Y.

2014), for example, the defendant was a partner of a New York limited liability

partnership but worked solely in Germany for European clients. Id. at 467. The

court nevertheless found personal jurisdiction over him in an action to claw back

fraudulent transfers. The partner, the court explained, “agreed to become a partner

in the New York LLP”; “submitted to the partnership’s governing document”

which was governed by New York law; and was compensated with funds sent from



                                         53
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 71 of 95 PageID #: 921




New York. Id. at 475-76. That was enough to establish personal jurisdiction. Id.

at 476; see also Morgan Guar. Tr. Co. of N.Y. v. Blacksburg Assocs., L.P., No. 90-

cv-6076, 1990 WL 209297, at *2 (E.D. Pa. 1990) (denying motion to dismiss

where partners expected “profit from the activities of [a] limited partnership” even

if they “did not personally conduct any partnership activities” in the forum);

Schwegmann Bank & Tr. Co. of Jefferson v. Simmons, 880 F.2d 838, 839-40 (5th

Cir. 1989) (finding jurisdiction over out-of-state limited partner); In re Bernard L.

Madoff Inv. Sec. LLC, 525 B.R. 871, 883-84 (Bankr. S.D.N.Y. 2015) (similar).

      This case is no different. The Foreign LPs chose to become partners in a

partnership organized under Delaware law. Etkin Decl., D.I. 24-1 & 24-2. The

partnership agreement contained a Delaware choice-of-law provision. Etkin Decl.,

D.I. 24-1 at ¶ 16.7; D.I. 24-2 at ¶ 16.7. In this very proceeding, the Foreign LPs are

attempting to avail themselves of the benefits of that Delaware partnership by

invoking Delaware’s three-year limitations period. LP Defs. Br. 33-35.

      The Foreign LPs, moreover, received the fraudulent transfers at issue from a

U.S.-based entity. In Gambone v. Lite Rock Drywall, 288 F. App’x 9 (3d Cir.

2008), the Third Circuit concluded that a foreign defendant was subject to personal

jurisdiction because he received a fraudulent transfer from a U.S. entity. Id. at 14.

Other cases have reached the same result. See, e.g., In re Akbari-Shahmirzadi,

No. 11-cv-15351, 2016 WL 6783245, at *3 (Bankr. D.N.M. Nov. 14, 2016)


                                         54
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 72 of 95 PageID #: 922




(concluding that receipt of fraudulent transfer was sufficient to support personal

jurisdiction “even when the transfer is the only contact between the debtor and the

foreign transferee”).

      The Foreign LPs cite Shaffer v. Heitner, 433 U.S. 186, 216 (1977), for the

point that merely “buying securities in a corporation formed in Delaware” is not

sufficient. LP Defs. Br. 40-41. But the Foreign LPs did far more than that here.

They agreed to become partners in a Delaware partnership subject to a Delaware

choice-of-law clause, intentionally received fraudulent transfers from that

Delaware partnership, and then invoked the benefits of Delaware law in these

proceedings. Those contacts are sufficient to support jurisdiction. 20

             2.    Exercising Jurisdiction Would Comport with Traditional
                   Notions of Fair Play and Substantial Justice
      Once the plaintiff has shown sufficient minimum contacts, the burden shifts

to the defendant to “present a compelling case” that exercising jurisdiction would

be unreasonable. O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 324 (3d Cir.

2007). It is “rare” that a defendant can make that showing. Pennzoil Prods. Co. v.

Colelli & Assocs., Inc., 149 F.3d 197, 207 (3d Cir. 1998). Courts consider the


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  The Foreign LPs’ remaining cases are not binding, and many are distinguishable.
See, e.g., In re AstroPower Liquidating Tr., No. 05-50867, 2006 WL 2850110
(Bankr. D. Del. Oct. 2, 2006) (defendant was not investor in transferor); Deutsche
Bank AG v. Devon Park Bioventures, L.P., C.A. No. 2017-0822-SG, 2021 WL
2711472, at *7-8 (Del. Ch. June 30, 2021) (jurisdiction improper under state long-
arm statute so discussion of due process standard was dictum).

                                         55
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 73 of 95 PageID #: 923




burden on the defendant, the forum’s interest in adjudicating the dispute, and the

interests of other jurisdictions. O’Connor, 496 F.3d at 324.

      The Foreign LPs show no significant burdens from having to litigate in this

forum.     Technological advances such as videoconferencing have significantly

reduced whatever burdens might once have arisen from cross-border litigation.

See, e.g., Madoff, 525 B.R. at 886; Graphics Props. Holdings Inc. v. Asus Comput.

Int’l, Inc., 964 F. Supp. 2d 320, 330 (D. Del. 2013).

         The Trustee’s and United States’ interests in resolving this fraudulent

transfer dispute in a single proceeding far outweigh any burden on the Foreign

LPs. In In re DBSI, Inc., 467 B.R. 309 (Bankr. D. Del. 2012), for example, the

court observed that “[r]equiring the Trustee to litigate his fraudulent transfer cases

in numerous other jurisdictions would run counter to the bankruptcy policy” of

resolving all disputes in one forum. Id. at 316. Piecemeal litigation would also

waste resources. Id. This case is no different.

      Finally, the international judicial system’s interest in efficient resolution of

disputes also favors jurisdiction. “[R]esolving all interrelated claims against all

Defendants in the same forum promotes judicial economy.” In re UD Dissolution

Corp., 629 B.R. 11, 28 (Bankr. D. Del. 2012). The Foreign LPs assert that “[t]he

foreign nations involved here would certainly disfavor” the Trustee’s recovery of




                                         56
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 74 of 95 PageID #: 924




fraudulently transferred assets. LP Defs. Br. 44. But they point to no foreign law

that would preclude or even disfavor recovery in the circumstances alleged here.

      The Foreign LPs thus fail to identify any reason, much less a “compelling”

one, why exercising jurisdiction would be unfair here. O’Connor, 496 F.3d at 324.

      B.     The State Defendants Are Not Immune from Suit
      The so-called “State” Defendants — CalPERS and the New Mexico Funds

— argue that they are immune from suit under the Eleventh Amendment. LP Defs.

Br. 45-51. But sovereign immunity does not apply to a bankruptcy proceeding like

this one seeking to recover fraudulently transferred assets.          And the State

Defendants have failed to establish that they are arms of the State in any event.

             1.     Sovereign Immunity Does Not Apply to This Bankruptcy
                    Proceeding
      The State Defendants’ sovereign immunity defense is foreclosed by

precedent that they fail to acknowledge, much less distinguish. Supreme Court and

Third Circuit precedent make clear that sovereign immunity does not apply to a

bankruptcy proceeding like this one.

      In Central Virginia Community College v. Katz, 546 U.S. 356 (2006), the

Supreme Court held that, “[i]n ratifying the Bankruptcy Clause, the States

acquiesced in a subordination of whatever sovereign immunity they might

otherwise have asserted in proceedings necessary to effectuate the in rem

jurisdiction of the bankruptcy courts.” Id. at 378 (citing U.S. Const. art. I, § 8, cl.


                                          57
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 75 of 95 PageID #: 925




4). In In re Venoco, 998 F.3d 94 (3d Cir. 2021), the Third Circuit applied Katz to a

liquidation trustee’s adversary proceeding against California state entities to

recover for an unlawful taking of the debtors’ property. The Third Circuit held that

Katz abrogated any sovereign immunity the defendants otherwise had. Id. at 99.

      The Third Circuit explained that a proceeding need not “be technically in

rem” for Katz’s abrogation rule to apply.        Venoco, 998 F.3d at 104.        The

proceeding need only “further a bankruptcy court’s in rem jurisdiction.” Id. The

Third Circuit held that sovereign immunity would not apply where a proceeding

(1) “decides and affects interests in the res, the property of the debtor and its

estate”; (2) has a “broader effect on the equitable distribution of the debtor’s

property”; or (3) concerns a discharge order. Id. at 104-05. The court specifically

identified “fraudulent transfer actions” as one example. Id. at 105; see also In re

DBSI, Inc., 463 B.R. 709, 710-11 (Bankr. D. Del. 2012) (rejecting sovereign

immunity defense to fraudulent transfer action); In re Phila. Ent. & Dev. Partners,

L.P., 611 B.R. 51, 65-68 (Bankr. E.D. Pa. 2019) (same), aff’d, 860 F. App’x 25 (3d

Cir. 2021).

      This Adversary Proceeding falls squarely within those categories. First, the

proceeding “decides and affects interests in . . . the property of the debtor and its

estate.” Venoco, 998 F.3d at 104. The Trustee is the “representative of the

Debtors’ Estates” in prosecuting certain “claims of the Debtors’ Estates.” Plan at


                                         58
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 76 of 95 PageID #: 926




7, 9, 22; see Compl. ¶ 17. The Trustee recovered the Judgment against Yucaipa on

contract and fraudulent transfer claims after enduring years of Yucaipa’s scorched-

earth litigation and delay tactics. Judgment ¶¶ 1-2; Compl. ¶¶ 108-120. Yucaipa,

however, did not pay.       Consequently, the Trustee was forced to bring this

proceeding to recover the proceeds Yucaipa fraudulently transferred to its investors

— funds that should have been part of the Debtors’ estates but for Yucaipa’s

misconduct.    The Trustee’s claims thus directly “affect[ ] interests in . . . the

property of the debtor and its estate.” Venoco, 998 F.3d at 104.

      This proceeding also falls within Venoco’s second category:             It has a

“broader effect on the equitable distribution of the debtor’s property.” 998 F.3d at

105. The Litigation Trust is designed to recover assets that, but for Yucaipa’s

fraudulent transfers, would have been part of the Debtors’ estates and been

distributed to creditors pursuant to a Court-approved Litigation Proceeds Waterfall.

Plan at 10 (definition of “Litigation Trust Interests” and “Litigation Trust

Beneficiaries”). The Trustee’s efforts to claw back and recover those fraudulently

transferred assets are essential to ensure equitable distribution of estate property.

      That this Adversary Proceeding post-dates confirmation of the Plan is

irrelevant. In Venoco, the defendants similarly argued that Katz was inapplicable

because “the Adversary Proceeding relates only to claims after the Plan was

confirmed and became effective, when the Debtors’ estate ceased to exist, so there


                                          59
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 77 of 95 PageID #: 927




[was] no res for the bankruptcy court’s jurisdiction to attach.” 998 F.3d at 107.

The Third Circuit rejected that argument. Id. at 107-08.

      Nor does it matter that the Trustee asserts only state-law claims. Venoco

expressly rejected the notion that “Katz only applies to claims ‘created by the

Bankruptcy Code.’ ” 998 F.3d at 103 n.8. “[T]he fact that various state laws are

implicated is no ground for constitutional concern.” Id.

      Venoco thus squarely forecloses the State Defendants’ immunity defense.

             2.      The State Defendants Do Not Show They Are Arms of
                     the State
      Even apart from Katz, the State Defendants have not shown they are entitled

to sovereign immunity. To claim immunity, a defendant must show it is an “arm”

of the State. Patterson v. Pa. Liquor Control Bd., 915 F.3d 945, 950 (3d Cir.

2019). Courts consider three factors: “(1) whether the payment of the judgment

would come from the state; (2) what status the entity has under state law; and

(3) what degree of autonomy the entity has.” Id. “[T]he funding factor break[s]

the tie in a close case.” Bradley v. W. Chester Univ. of Pa. State Sys. of Higher

Educ., 880 F.3d 643, 655 (3d Cir. 2018). The party asserting immunity “bears the

burden of proving its applicability.” Christy v. Pa. Turnpike Comm’n, 54 F.3d

1140, 1144 (3d Cir. 1995); see, e.g., Blake v. Kline, 612 F.2d 718, 724 (3d Cir.

1979) (vacating finding that Pennsylvania state employee retirement fund was an

arm of the State).


                                        60
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 78 of 95 PageID #: 928




      Funding. For the first factor, the State Defendants must show that “the

money that would pay the judgment would come from the state.” Patterson, 915

F.3d at 950. In Patterson, for example, this factor weighed against immunity

because the entity could “satisfy a judgment with its own source of revenue.” Id.

at 952. Likewise, in Febres v. Camden Board of Education, 445 F.3d 227 (3d Cir.

2006), this factor weighed against immunity because the entity “ha[d] not

established that it cannot satisfy a judgment with its own monies,” even though up

to 90% of its funding came from the State. Id. at 232, 234; see also Maliandi v.

Montclair State Univ., 845 F.3d 77, 88 (3d Cir. 2016) (“[W]e have regularly

determined that alternative sources of funding — even where only a small part of

the entity’s overall budget — counsel against immunity.”); Cooper v. Se. Pa.

Transp. Auth., 548 F.3d 296, 306 (3d Cir. 2008) (similar).

      None of the State Defendants has shown that a judgment in this case would

necessarily be paid out of state funds. Nor could they. CalPERS, for example,

reports vast sources of non-state revenue, including investment income and

member contributions. See CalPERS, Required Employer Contributions (updated

July 13, 2022) (Zaiger Decl. Ex. 5) (“CalPERS retirement benefits are funded

through contributions paid by contracting employers, members, and earnings from




                                        61
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 79 of 95 PageID #: 929




CalPERS investments.”). 21 CalPERS has more than $477 billion in investments

and earned a 21.3% return in 2021. CalPERS, Investments & Pension Funding:

Facts at a Glance for Fiscal Year 2020-21 (Zaiger Decl. Ex. 6). CalPERS could

easily satisfy a judgment in this case without resort to state funds.

      CalPERS urges that the State of California is obligated to cover any

“shortfall” in pension benefits. LP Defs. Br. 49. That is not enough. The remote

theoretical possibility that the State would have to step in as a funder of last resort

does not prove there is any realistic likelihood that this judgment would trigger a

“shortfall.” In Blake, the Third Circuit vacated a finding that Pennsylvania’s

Public School Employees’ Retirement Board was an arm of the State because the

retirement fund had failed to show it would have to resort to state funds — as

opposed to investment income or employee contributions — to satisfy a judgment.

612 F.2d at 723-24, 728.        Given CalPERS’s even more enormous financial

resources, the same reasoning applies here.

      The New Mexico Funds, meanwhile, make only the conclusory assertion

that “there can be no doubt that any judgments against the New Mexico funds

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   Because the State Defendants have asserted sovereign immunity based on
authorities outside the pleadings, this Court is free to consider other evidence as
well, including the State Defendants’ own public representations. See Crystallex
Int’l Corp. v. Bolivarian Republic of Venezuela, 333 F. Supp. 3d 380, 388 (D. Del.
2018) (court evaluating factual challenge to jurisdiction is not limited to pleadings
and “is free to weigh the evidence and satisfy itself as to the existence of its power
to hear the case” (quoting Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d
884, 891 (3d Cir. 1977))).

                                          62
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 80 of 95 PageID #: 930




would be paid by the State of New Mexico.” LP Defs. Br. 49. They do not

explain (1) how the funds receive money; or (2) whether any investment income or

member contributions would be sufficient to satisfy a judgment in this case. See,

e.g., N.M. State Inv. Council, Investment Holdings Report (May 31, 2022) (Zaiger

Decl. Ex. 7) (describing investments); N.M. State Inv. Council, 60 Years

Anniversary Report 2018, at 25 (2018) (Zaiger Decl. Ex. 8) (describing substantial

fixed income portfolio, which “produce[s] income” and “provide[s] liquidity in

times of need”). Like CalPERS, the New Mexico Funds fail to carry their burden

of showing that any judgment would be paid from state funds.

      Status Under State Law. For the second factor, courts consider “how state

law treats the agency generally, whether the entity is separately incorporated,

whether the agency can sue or be sued in its own right, and whether it is immune

from state taxation.” Cooper, 548 F.3d at 306. Courts also consider whether the

entity may exercise the power of eminent domain and enter into contracts and

make purchases on its own behalf. Christy, 54 F.3d at 1148. The State Defendants

do not meaningfully address those issues and thus fail to carry their burden on this

factor too.   See Kirkland v. DiLeo, 581 F. App’x 111, 117 (3d Cir. 2014)

(defendant’s failure to address factor “tend[ed] to suggest that the [defendant]

[was] not an arm of the State”); Trapp v. New Jersey, No. 17-cv-10709, 2018 WL

4489680, at *4-5 (D.N.J. Sept. 19, 2018) (same).


                                        63
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 81 of 95 PageID #: 931




      CalPERS notes that it was created by statute and is listed as a unit of the

California government under California law. LP Defs. Br. 50. But statutory labels

“offer[ ] little guidance.” Maliandi, 845 F.3d at 91. CalPERS acknowledges that it

may sue and be sued in its own name and hold property in its own name, facts that

weigh against immunity. Id. CalPERS does not address any of the remaining

considerations. At best, this factor is a wash.

      The same goes for the New Mexico funds. They do not dispute that they can

sue and be sued or hold property in their own names. Instead, they argue only that

they were created by New Mexico law and are controlled by state officials. The

mere fact that an entity was created by state law does not make it an arm of the

State. See Fitchik v. N.J. Transit Rail Operations, Inc., 873 F.2d 655, 662, 664 (3d

Cir. 1989) (entity created by state law not entitled to immunity). And control by

state officials goes to the third, not the second, factor. Febres, 445 F.3d at 230-31

(government control relevant to third factor).

      Degree of Autonomy. The final factor focuses on state oversight and the

entity’s governance structure. Maliandi, 845 F.3d at 96. That factor cuts against

immunity too.

      CalPERS argues that it serves a government function. LP Defs. Br. 51. But

it does not explain why that function is relevant to autonomy, and it does not

discuss state oversight at all.       Id.        In fact, CalPERS enjoys significant


                                            64
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 82 of 95 PageID #: 932




independence. Management and control of its retirement system “is vested in the

Board.” Cal. Gov’t Code § 20120. The Board has “plenary authority and fiduciary

responsibility for investment of moneys and administration of the [retirement]

system” and “sole and exclusive fiduciary responsibility over the assets of the . . .

retirement system.” Cal. Const. art. XVI, § 17. Board members “shall be entitled

to hold [their] office until the end of [their] term.” Cal. Gov’t Code § 20095. And

Board member discipline is at “the discretion of the Board” itself. CalPERS Bd.

Admin., Governance Policy ¶ V(B)(2) (rev. Mar. 2021) (Zaiger Decl. Ex. 9).

CalPERS has much greater autonomy than entities held not to be arms of the State.

See, e.g., Febres, 445 F.3d at 231 (entity not arm of the State even though governor

had veto power); Fitchik, 873 F.2d at 663-64 (same).

      The New Mexico Funds likewise say almost nothing about their autonomy.

LP Defs. Br. 51. They too have significant independence. A majority of the

members of their governing council are removable only for cause. N.M. Stat. § 6-

8-3(C); id. § 6-8-2(A); cf. Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S.

Ct. 2183, 2191-92 (2020) (at-will removal authority essential for supervision). The

council’s investment authority is largely unfettered beyond the broad standards of

the Uniform Prudent Investor Act and other state guidelines. N.M. Stat. §§ 45-7-

601 et seq.; N.M. Stat. §§ 6-8-7, 6-8-10. The New Mexico Funds thus likewise fail

to show that the autonomy factor weighs in favor of immunity.


                                         65
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 83 of 95 PageID #: 933




                             *    *    *        *   *

      Both CalPERS and the New Mexico Funds fail to carry their burden to show

they are arms of the State entitled to sovereign immunity. The Court can reject

their immunity defense for that reason alone. At a minimum, the Trustee should be

permitted to take discovery regarding the factors above. See, e.g., Blake, 612 F.2d

at 726 (holding that the “district court should have permitted discovery and held a

hearing before ruling on [immunity]”); Rovinsky v. Choctaw Mfg. & Dev. Corp.,

No. 09-cv-324, 2009 WL 3763989, at *5 (D.N.J. Nov. 10, 2009) (denying motion

to dismiss without prejudice to permit discovery). This issue cannot be resolved

on the pleadings.

      C.     The NYC Funds Were Not Entitled to Presuit Notice
      The NYC Funds contend that this Court lacks jurisdiction over the claims

against them because the Trustee failed to provide presuit notice under New York

General Municipal Law §§ 50-e, 50-i(1) and New York City Administrative Code

§ 7-201(a). LP Defs. Br. 51-56. Those presuit notice provisions do not apply here

because the NYC Funds were acting in a proprietary rather than governmental

capacity when managing their investment portfolios. And the provisions cannot be

enforced against the Trustee’s fraudulent transfer claims in any event.




                                           66
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 84 of 95 PageID #: 934




             1.    This Suit Concerns a Proprietary Function

      New York’s presuit notice requirements do not apply where a municipality

“functions in a proprietary capacity.” Dick v. Town of Wappinger, 63 A.D.3d 661,

662 (N.Y. App. Div. 2009); see also French v. Long Island Child.’s Museum, 163

A.D.3d 778, 778 (N.Y. App. Div. 2018) (“[P]rior written notice was not required

because the County . . . was acting in a proprietary capacity.”); Kadlecik v. Village

of Endicott, 174 A.D.2d 923, 924 (N.Y. App. Div. 1991); Torres v. City of New

York, No. 09-cv-9357, 2017 WL 2191601, at *2 (S.D.N.Y. May 17, 2017). Where

a municipality acts as a landlord, for example, “it functions in a proprietary

capacity” and presuit notice is not required. Dick, 63 A.D. at 662.

      The functions here are proprietary rather than governmental. Governmental

functions are those “undertaken for the protection and safety of the public pursuant

to the general police powers.” Sebastian v. State, 720 N.E.2d 878, 879 (N.Y.

1999).    Proprietary functions, by contrast, are “activities [that] essentially

substitute for or supplement ‘traditionally private enterprises.’ ” Id. at 880; see,

e.g., Turturro v. City of New York, 68 N.E.3d 693, 700-01 (N.Y. 2016) (road

design a proprietary function); Schrempf v. State, 487 N.E.2d 883, 886 (N.Y. 1985)

(provision of “medical and psychiatric care” a proprietary function).

      The Trustee’s fraudulent transfer claims concern the NYC Funds’ receipt of

partnership distributions in the course of their investment activities on behalf of



                                         67
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 85 of 95 PageID #: 935




pension funds. Those activities are proprietary twice over. For one thing, the

operation of a pension fund is itself a proprietary function. The NYC Funds are

not engaging in any sovereign or regulatory function; they are administering

employee benefits just like a private plan administrator might do. But beyond that,

this suit concerns the NYC Funds’ investment activities on behalf of their funds.

The NYC Funds’ receipt of disputed distributions from one of the investments in

their portfolio is a quintessentially proprietary function.

      In Blake, the Third Circuit held that Pennsylvania’s state teachers pension

fund performed a proprietary function. 612 F.2d at 724. The court explained that

the fund “appears to function as a private life insurance company, collecting and

investing money, and paying pensions and death benefits, rather than as a

government entity.” Id.; see also Republic of Argentina v. Weltover, Inc., 504 U.S.

607, 614-17 (1992) (holding that a foreign government’s issuance of debt

securities was a commercial rather than sovereign function). The NYC Funds are

no different. This dispute arises out of their investment activities in managing

municipal pension systems and their receipt of disputed profit distributions from

one of those investments. Those activities are plainly proprietary. 22



22
  That the NYC Funds may serve public goals in some sense is no answer. Safe
road design and medical and psychiatric care doubtless serve important public
policy goals too, but those are also proprietary rather than governmental functions
nonetheless. See Turturro, 68 N.E.3d at 701; Schrempf, 487 N.E.2d at 886.

                                          68
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 86 of 95 PageID #: 936




             2.     The Presuit Notice Requirement Does Not Apply to This
                    Bankruptcy Proceeding

      Even if New York’s presuit notice requirements purported to apply to the

Trustee’s claims, they could not be enforced in this proceeding.             Those

requirements are attributes of state sovereign immunity that are abrogated in a

bankruptcy proceeding like this one.

      The presuit notice requirements in Sections 50-i and 7-201 are attributes of

state sovereign immunity. They impose conditions on the waiver of that immunity.

See Katz v. City of New York, 661 N.E.2d 1374, 1376 (N.Y. 1995) (Section 7-201

is a “limited waiver of sovereign immunity”); Shaw v. Long Island R.R. Co., No.

16-cv-6972, 2017 WL 5634122, at *4 (E.D.N.Y. Nov. 22. 2017) (Section 50-i

“governed whether the plaintiff had complied with the requirements necessary for

the waiver of sovereign immunity”).         For that reason, New York treats the

provisions as jurisdictional requirements. See LP Defs. Br. 52; Rabadi v. City of

Yonkers, No. 21-cv-1258, 2022 WL 889734, at *8 (S.D.N.Y. Mar. 25, 2022)

(failure to comply is “a jurisdictional rather than a procedural defect”).

      Precisely because those provisions derive from state sovereign immunity,

they are not enforceable in a case like this that invokes the Court’s bankruptcy

jurisdiction. As explained above, see pp. 57-60, supra, the Supreme Court held in

Katz that the Bankruptcy Clause abrogates state immunity under the Eleventh

Amendment. 546 U.S. at 378. In Venoco, the Third Circuit extended Katz’s


                                          69
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 87 of 95 PageID #: 937




reasoning to state-law immunities as well. The court held that “allowing [state

defendants] to assert a state law immunity-from-suit defense separate from

Eleventh Amendment immunity would make the decision in Katz a dead letter.”

998 F.3d at 110. “If that argument prevail[ed], state legislation [could] easily end-

run the deemed waiver of state sovereign immunity effected by the Bankruptcy

Clause and recognized in Katz.” Id.

      For the reasons explained above, the Trustee’s fraudulent transfer claims

properly abrogate state immunity under Katz and Venoco. They therefore abrogate

New York’s presuit notice requirements too.

      D.     The ERISA Defendants’ Anti-Alienation Defense Is Meritless
      The ERISA Defendants assert that the Trustee’s fraudulent transfer claims

are barred by ERISA’s anti-alienation provision, 29 U.S.C. § 1056(d)(1). LP Defs.

Br. 56-62. That provision does not apply. It protects benefit payments to plan

beneficiaries. It does not allow ERISA plans to retain illegitimate gains from their

investment activities.

      ERISA’s principal goal is to “protect plan participants and beneficiaries.”

Gobeille v. Liberty Mut. Ins. Co., 577 U.S. 312, 324 (2016) (emphasis added). The

statute seeks “to make the benefits promised by an employer more secure by

mandating certain oversight systems and other standard procedures.” Id. at 320-

21. To advance that goal, ERISA contains an anti-alienation provision that states



                                         70
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 88 of 95 PageID #: 938




that “[e]ach [ERISA] pension plan shall provide that benefits provided under the

plan may not be assigned or alienated.” 29 U.S.C. § 1056(d)(1) (emphasis added).

“[A]s indicated by the legislative history, the anti-alienation provision is intended

to ‘protect plan beneficiaries by ensuring that plan assets are used only for

payment of benefits.’ ” Coar v. Kazimir, 990 F.2d 1413, 1420 (3d Cir. 1993)

(emphasis added). The provision protects beneficiaries from their “own financial

improvidence in dealing with third parties.” Am. Tel. & Tel. Co. v. Merry, 592

F.2d 118, 124 (2d Cir. 1979).

      The statute’s implementing regulations confirm that focus.              Treasury

Regulation § 1.401(a) provides:

      [T]he terms “assignment” and “alienation” include
      (i) Any arrangement providing for the payment to the employer of
      plan benefits which otherwise would be due the participant under the
      plan, and
      (ii) Any direct or indirect arrangement (whether revocable or
      irrevocable) whereby a party acquires from a participant or
      beneficiary a right or interest enforceable against the plan in, or to, all
      or any part of a plan benefit payment which is, or may become,
      payable to the participant or beneficiary.

26 C.F.R. § 1.401(a)-13(c)(1) (emphasis added).

      Cases applying the anti-alienation provision thus routinely distinguish

between benefits to beneficiaries, which may be subject to the anti-alienation

provision, and assets of the plan, which are not. The Second Circuit, for example,

has squarely held that “undistributed funds held in trust . . . do not constitute

                                          71
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 89 of 95 PageID #: 939




‘benefits’ within the meaning of the anti-alienation provisions” and that the “anti-

alienation rule does not prevent pension plan assets from being used to satisfy a

judicial judgment that has been entered against the plan itself.” Milgram v.

Orthopedic Assocs. Defined Contribution Pension Plan, 666 F.3d 68, 73 (2d Cir.

2011) (emphasis added); see also Mackey v. Lanier Collection Agency & Serv.,

Inc., 486 U.S. 825, 826 (1988) (ERISA “clearly contemplates the enforcement of

money judgments against a plan”); O’Toole v. Arlington Tr. Co., 681 F.2d 94, 96

(1st Cir. 1982) (anti-alienation provision is “directed at ‘benefits provided,’ not the

corpus of the fund”).23

      Consistent with those principles, courts have allowed fraudulent transfer

claims against ERISA plans where the claims relate to the plans’ investment

activities rather than attempts by plan beneficiaries to alienate or assign their

benefits. In Wagner v. Galbreth, 500 B.R. 42 (D.N.M. 2013), the court allowed a

fraudulent transfer claim against an ERISA plan that invested in a Ponzi scheme.

Id. at 45. The anti-alienation provision, it explained, restricts only “alienation of

benefits that become payable to a plan participant or beneficiary,” not parties’

rights “to recover fraudulent transfers from the corpus of the . . . plans.” Id. at 49.

“When read in conjunction with the . . . regulations,” the court noted, “it is clear

23
   Contrast Patterson v. Shumate, 504 U.S. 753, 765 (1992) (construing anti-
alienation clause to exclude plan benefits from bankruptcy estate); Guidry v. Sheet
Metal Workers Nat’l Pension Fund, 493 U.S. 365, 376 (1990) (construing anti-
alienation provision to preclude constructive trust over plan benefits).

                                          72
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 90 of 95 PageID #: 940




that recapturing a fraudulent transfer does not constitute an ‘assignment’ or

‘alienation’ prohibited by ERISA.” Id. at 48; see also In re Vaughan Co., Realtors,

493 B.R. 597, 607 (Bankr. D.N.M. 2013) (allowing fraudulent transfer claims).

      That distinction is fatal to Defendants’ arguments.         Yucaipa is not a

participant or beneficiary of the plans. Its fraudulent transfers thus have nothing to

do with the anti-alienation provision because they do not implicate any attempt to

assign or alienate “benefits provided under the plan.” 29 U.S.C. § 1056(d)(1).

      Defendants argue that the anti-alienation provision protects “plan assets,”

not just benefits, because assets could be used to pay benefits to participants. LP

Defs. Br. 59. That argument proves far too much. Any claim against a pension

plan could reduce the amount of assets available for payment to participants. If

that alone were enough to trigger the anti-alienation provision, the provision would

operate as a general grant of immunity from all lawsuits whatsoever. Nothing in

the anti-alienation provision remotely suggests that extreme intent.

      Defendants’ reliance on ERISA’s preemption provision adds nothing. LP

Defs. Br. 59 (citing 29 U.S.C. § 1144(a)). The anti-alienation provision addresses

only plan benefits, not investment activities, so no “preemption” issue arises.

Contrast Boggs v. Boggs, 520 U.S. 833, 839-40 (1997) (finding preemption of state

community property laws because they regulated pension benefits). A pension

plan cannot purchase securities and then refuse to pay for them on the ground that


                                         73
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 91 of 95 PageID #: 941




ERISA preempts generally applicable state contract law. For essentially the same

reasons, a pension plan cannot receive unlawful distributions from its investments

and then refuse to return them on the ground that ERISA preempts generally

applicable state fraudulent conveyance law. ERISA simply does not address those

investment activities.

      Defendants insist that ERISA preempts state laws that “significantly affect

ERISA plan operation and administration.” LP Defs. Br. 60. But no court has held

that ERISA exempts pension plans from generally applicable state laws that

regulate investment activities. See N.Y. State Conf. of Blue Cross & Blue Shield

Plans v. Travelers Ins. Co., 514 U.S. 645, 661 (1995) (construing ERISA not to

preempt generally applicable state law).             Nor do the Trustee’s claims

impermissibly “interfere with nationally uniform plan administration.” LP Defs.

Br. 61. The Trustee merely seeks to hold the ERISA Defendants responsible for

receiving fraudulent transfers in the course of their investment activities to the

same extent as all of Yucaipa’s other investors.24


24
   The Third Circuit has suggested that ERISA’s anti-assignment provision does
not apply to fraudulent transfer claims at all. See Velis v. Kardanis, 949 F.2d 78,
82 (3d Cir. 1991) (“Congress intended to provide protection against the claims of
creditors for a person’s interest in pension plans, unless vulnerable to challenge as
fraudulent conveyances or voidable preferences.” (emphasis added)); see also In
re Goldschein, 241 B.R. 370, 379 (Bankr. D. Md. 1999) (similar); Planned
Consumer Mktg. v. Coats & Clark, Inc., 522 N.E.2d 30, 38 (N.Y. 1988). The
Court need not go that far. Even if ERISA’s anti-alienation provision precludes a
fraudulent transfer claim seeking to recover plan benefits (for example, where a

                                         74
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 92 of 95 PageID #: 942




      E.     State Street’s “Mere Conduit” Defense Cannot Be Resolved on a
             Motion to Dismiss

      Defendants argue that the Trustee cannot recover from State Street because

it was a “mere conduit,” not a transferee. LP Defs. Br. 62-64. That affirmative

defense should not be resolved on this motion to dismiss.

      The Trustee has sufficiently alleged both actual and constructive fraudulent

transfer claims against each of the LP Defendants, including State Street. See pp.

37-47, supra. Whether State Street received those transfers as a “mere conduit” is

an affirmative defense that “cannot form the basis of a motion to dismiss.” In re

DVI, Inc., No. 03-12656, 2008 WL 4239120, at *3 (Bankr. D. Del. Sept. 16, 2008);

see also In re AES Thames, L.L.C., No. 11-10334, 2016 WL 11595116, at *4

(Bankr. D. Del. Oct. 28, 2016) (recognizing “mere conduit” theory as affirmative

defense); In re Chuza Oil Co., No. 18-11836-T7, 2021 WL 559155, *4 n.8 (Bankr.

D.N.M. Feb. 12, 2021) (“Most courts view the conduit defense as an affirmative

defense.” (collecting cases)).

      Defendants argue that State Street must be a “mere conduit” because the

Complaint alleges that it received transfers in its capacity as trustee for the

American Airlines pension plan. LP Defs. Br. 62-63. But those allegations do not

conclusively indicate that State Street is a mere conduit.          The agreements


beneficiary fraudulently transfers assets to his own account in the plan), it does not
reach claims that have nothing to do with benefits at all.

                                         75
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 93 of 95 PageID #: 943




governing State Street’s relationship with the American Airlines pension plan are

neither described in the Complaint nor otherwise before the Court. Cf. In re Allen,

No. 13-14348, 2014 WL 1246292, at *9 (Bankr. D.N.J. Mar. 26, 2014)

(determining that trust was not transferee after reviewing terms of relevant trust

documents). It is not apparent from the face of the Complaint that State Street was

contractually bound simply to pass along all the transfers it received. See In re

AstroPower Liquidating Tr., No. 05-50867, 2006 WL 1173853, at *1 (Bankr. D.

Del. Apr. 19, 2006) (denying motion to dismiss based on argument that defendant

was contractually obligated to pass along transfers because that fact was “not

apparent from the face of the Amended Complaint”).

      Indeed, if State Street retained any portion of the transfers, as a fee or

otherwise, it would be a transferee at least to that extent. See In re Rocco Co., No.

10-18799, 2014 WL 7404566, at *10 n.2 (D.N.J. Dec. 29, 2014) (noting that

conduit defense “likely does not extend” to commissions retained); In re Moon,

385 B.R. 541, 553 n.34 (Bankr. S.D.N.Y. 2008) (“[T]he majority rule is that

‘where a mere conduit retains possession of the funds, he will be liable up to the

amount which he retains.’ ”); In re Lenox Healthcare, Inc., 343 B.R. 96, 104

(Bankr. D. Del. 2006) (entity not “mere conduit” where transfers reimbursed it for

amounts advanced on transferor’s behalf ).




                                         76
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 94 of 95 PageID #: 944




      State Street’s “mere conduit” defense thus cannot be resolved at this early

stage of proceedings. In that respect too, the LP Defendants’ motion to dismiss

should be denied.

                                   CONCLUSION
      Defendants’ Motions to Dismiss should be denied.


Dated: August 5, 2022                  Respectfully submitted,

                                       /s/ Seth A. Niederman
Jeffrey H. Zaiger (pro hac vice)       Seth A. Niederman (DE Bar No. 4588)
Judd A. Linden (pro hac vice)          FOX ROTHSCHILD LLP
ZAIGER LLC                             Citizens Bank Center
2187 Atlantic Street, 9th Floor        919 N. Market Street, Suite 300
Stamford, CT 06902                     Wilmington, DE 19801
Tel.: (917) 572-7701                   Tel.: (302) 654-7444
jzaiger@zaigerllc.com                  Fax: (302) 656-8920
                                       sniederman@foxrothschild.com
Douglas J. Pepe (pro hac vice)         Steven F. Molo (pro hac vice)
COHEN AND GRESSER LLP                  Robert K. Kry (pro hac vice)
800 Third Avenue                       Justin M. Ellis (pro hac vice)
New York, NY 10022                     Joshua D. Bloom (pro hac vice)
Tel.: (212) 957-7605                   Ryan Yeh (pro hac vice)
dpepe@cohengresser.com                 MOLOLAMKEN LLP
                                       430 Park Avenue
                                       New York, NY 10022
                                       Tel.: (212) 607-8160
                                       rkry@mololamken.com
                                       Jordan A. Rice (pro hac vice)
                                       MOLOLAMKEN LLP
                                       300 North LaSalle Street
                                       Chicago, IL 60654
                                       Tel.: (312) 450-6700

            Counsel for the Litigation Trustee and Plan Administrator




                                       77
Case 1:22-cv-00302-CFC Document 40 Filed 08/05/22 Page 95 of 95 PageID #: 945




                CERTIFICATE OF COMPLIANCE AND SERVICE

       I certify that the foregoing Opposition complies with the Court’s standing

order dated November 6, 2019 regarding briefing in all cases. This Opposition has

been prepared using 14-point Times New Roman font and contains 18,214 words,

excluding the case caption, tables of contents and authorities, signature block, and

certificates.

       I also certify that on August 5, 2022, I electronically filed the above

document and supporting declaration with the Clerk of Court using CM/ECF,

which will send electronic notification of the filings to all registered counsel.


      August 5, 2022                        /s/ Seth A. Niederman
                                            Seth A. Niederman (DE Bar No. 4588)




                                          78
